Case 3:17-cv-01436-RBM-DEB Document 328-9 Filed 09/17/20 PageID.23021 Page 1 of 15




                             EXHIBIT 6
                                                                                                       Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                       Case 3:17-cv-01436-RBM-DEBQuechan
                                                                    Document        328-9
                                                                         Tribe's Privilege Log --Filed  09/17/20
                                                                                                  Withheld Documents PageID.23022 Page 2 of 15
                                                                                                                                          March 11, 2020
     Document
              Family ID   Attachment    Parent   Family Date From                                Recipients                                             CC                               Subject                                 Filename                            Privilege Description
#    Id
                                                                                                                                                                                                                                                                     Email requesting legal advice and providing
                                                                                                                                                                                                                                                                     information for the purpose of obtaining legal advice
                                                            Tribal Council Secretary                                                                                                                                                                                 from Thane Somerville^ regarding fee agreement with
1    111952   111952      111956                 05/23/17   <tribalsecretary@quechantribe.com>   Thane D. Somerville <t.somerville@msaj.com>                                                                                     Untitled.msg                        Williams & Cochrane.
                                                                                                                                                                                                                                                                     Attached correspondence providing information for the
                                                                                                                                                                                                                                                                     purpose of obtaining legal advice from Thane
                                                                                                                                                                                                                                                                     Somerville^ regarding fee agreement with Williams &
2    111956   111952                    111952   05/23/17                                                                                                                                                                        Scan0017.pdf                        Cochrane.
                                                                                                 President Keeny Escalanti; Vice President Virgil
                                                                                                 Smith; Virgil S. Smith; Lorraine E. White; Quechan
                                                                                                 Councilman Joaquin; Marsha Hill; Willie White;
                                                                                                 Quechan Executive Secretary; Alexis Summerfield;
                                                            Thane D. Somerville                  Regina Escalanti; Council Member Aaron Brown;                                           Memo re Williams/Cochrane (Attorney-                                        Email rendering legal advice of Thane Somerville^
3    30680    30680       30681                  05/24/17   <t.somerville@msaj.com>              Kaye Nealy                                                                              Client Privileged)                                                          regarding fee agreement with Williams & Cochrane.
                                                                                                                                                                                                                                                                     Attached memorandum rendering legal advice of
                                                                                                                                                                                                                                                                     Thane Somerville^ regarding fee agreement with
4    30681    30680                     30680    05/24/17                                                                                                                                                                        Memo re Attorney Fee Contract.pdf   Williams & Cochrane.
                                                                                                 Willie White; President Keeny Escalanti; Vice
                                                                                                 President Virgil Smith; Virgil S. Smith; Lorraine E.
                                                                                                 White; Quechan Councilman Joaquin; Marsha Hill;
                                                                                                 Quechan Executive Secretary; Alexis Summerfield;
                                                            Thane D. Somerville                  Regina Escalanti; Council Member Aaron Brown;                                           RE: ATTORNEY-CLIENT PRIVILEGED                                              Email rendering legal advice of Thane Somerville^
5    292005                                      05/31/17   <t.somerville@msaj.com>              Virgil S. Smith                                                                         Talking Points for Meeting With W&C                                         regarding fee negotiation talking points.
                                                                                                                                                                                                                                                                     Email chain requesting and rendering legal advice of
                                                                                                                                                                                                                                                                     Thane Somerville^ regarding fee negotiation talking
6    164168                                      06/01/17                                                                                                                                                                        23.pdf                              points.

                                                                                                                                                        l.white@quechantribe.com; 'Virgil S.
                                                                                                                                                        Smith'
                                                                                                                                                        <vs.smith@quechantribe.com>;
                                                                                                                                                        Regina Escalanti
                                                                                                                                                        <assttribalsecretary@quechantribe.co
                                                                                                                                                        m>; Vice President Virgil Smith
                                                                                                                                                        (vicepresident@quechantribe.com)
                                                                                                                                                        <vicepresident@quechantribe.com>;
                                                                                                                                                        Council Member Aaron Brown
                                                                                                                                                        (a.brown@quechantribe.com)
                                                                                                                                                        <a.brown@quechantribe.com>;
                                                                                                                                                        President Keeny Escalanti
                                                                                                                                                        (quechanpresident@quechantribe.com
                                                                                                                                                        )
                                                                                                                                                        <quechanpresident@quechantribe.co
                                                                                                                                                        m>; m.hill@quechantribe.com;
                                                                                                 Thane D. Somerville; Regina Escalanti; Vice            j.joaquin@quechantribe.com;
                                                                                                 President Virgil Smith; Council Member Aaron           Quechan Executive Secretary
                                                                                                 Brown; President Keeny Escalanti; Marsha Hill;         <executivesecretary@quechantribe.co                                                                          Email chain requesting and rendering legal advice of
                                                            Quechan Councilman W.White           Quechan Councilman Joaquin; Quechan Executive          m>; Alexis Summerfield               RE: ATTORNEY-CLIENT PRIVILEGED                                          Thane Somerville^ regarding fee negotiation talking
7    24629                                       06/01/17   <w.white@quechantribe.com>           Secretary; Alexis Summerfield                          <tribalsecretary@quechantribe.com> Talking Points for Meeting With W&C                                       points.
                                                                                                 Thane D. Somerville; Vice President Virgil Smith;
                                                                                                 Virgil S. Smith; Lorraine E. White; Quechan
                                                                                                 Councilman Joaquin; Marsha Hill; Quechan                                                                                                                            Email chain requesting and rendering legal advice of
                                                            Willie White                         Executive Secretary; Alexis Summerfield; Regina                                         Re: Talking Points for Meeting With                                         Thane Somerville^ regarding fee negotiation talking
8    25021                                       06/01/17   <w.white@quechantribe.com>           Escalanti; Council Member Aaron Brown                                                   W&C                                                                         points.
                                                                                                                                                      l.white@quechantribe.com; 'Virgil S.
                                                                                                                                                      Smith'
                                                                                                                                                      <vs.smith@quechantribe.com>;
                                                                                                                                                      Regina Escalanti
                                                                                                                                                      <assttribalsecretary@quechantribe.co
                                                                                                                                                      m>; Vice President Virgil Smith
                                                                                                                                                      (vicepresident@quechantribe.com)
                                                                                                                                                      <vicepresident@quechantribe.com>;
                                                                                                                                                      President Keeny Escalanti
                                                                                                                                                      (quechanpresident@quechantribe.com
                                                                                                                                                      )
                                                                                                                                                      <quechanpresident@quechantribe.co
                                                                                                                                                      m>; m.hill@quechantribe.com;
                                                                                                                                                      Council Member Aaron Brown
                                                                                                                                                      (a.brown@quechantribe.com)
                                                                                                                                                      <a.brown@quechantribe.com>;
                                                                                                 Thane D. Somerville; Regina Escalanti; Vice          Alexis Summerfield
                                                                                                 President Virgil Smith; President Keeny Escalanti; <tribalsecretary@quechantribe.com>;
                                                                                                 Marsha Hill; Council Member Aaron Brown; Alexis Quechan Executive Secretary                                                                                         Email chain requesting and rendering legal advice of
                                                            Quechan Councilman W.White           Summerfield; Quechan Executive Secretary;            <executivesecretary@quechantribe.co Re: ATTORNEY-CLIENT PRIVILEGED                                             Thane Somerville^ regarding fee negotiation talking
9    25166                                       06/01/17   <w.white@quechantribe.com>           Quechan Councilman Joaquin                           m>; j.joaquin@quechantribe.com       Talking Points for Meeting With W&C                                       points.
                                                                                                 Willie White; President Keeny Escalanti; Vice
                                                                                                 President Virgil Smith; Virgil S. Smith; Lorraine E.
                                                                                                 White; Quechan Councilman Joaquin; Marsha Hill;
                                                                                                 Quechan Executive Secretary; Alexis Summerfield;                                                                                                                    Email chain requesting and rendering legal advice of
                                                            Thane D. Somerville                  Regina Escalanti; Council Member Aaron Brown;                                             ATTORNEY-CLIENT PRIVILEGED                                                Thane Somerville^ regarding fee negotiation talking
10   291989                                      06/01/17   <t.somerville@msaj.com>              Virgil S. Smith                                                                           Talking Points for Meeting With W&C                                       points.




                                                                                                                                                                                                                                                                                                                              Ex 6
                                                                                                                                                        1
                                                                                                                                                                                                                                                                                                                             P0148
                                                                                                      Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                       Case 3:17-cv-01436-RBM-DEBQuechan
                                                                    Document        328-9
                                                                         Tribe's Privilege Log --Filed  09/17/20
                                                                                                  Withheld Documents PageID.23023 Page 3 of 15
                                                                                                                                         March 11, 2020
     Document
              Family ID   Attachment    Parent   Family Date From                               Recipients                                             CC                                Subject                                  Filename                         Privilege Description
#    Id
                                                                                                                                                       President Keeny Escalanti; Vice
                                                                                                                                                       President Virgil Smith; Virgil S.
                                                                                                                                                       Smith; Lorraine E. White; Quechan
                                                                                                                                                       Councilman Joaquin; Marsha Hill;
                                                                                                                                                       Quechan Executive Secretary; Alexis
                                                                                                                                                       Summerfield; Regina Escalanti;
                                                            Willie White                                                                               Council Member Aaron Brown;         RE: ATTORNEY-CLIENT PRIVILEGED                                          Email chain requesting legal advice from Thane
11   291991                                      06/01/17   <w.white@quechantribe.com>          Thane D. Somerville <t.somerville@msaj.com>            Virgil S. Smith                     Talking Points for Meeting With W&C                                     Somerville^ regarding fee negotiation talking points.
                                                                                                President Keeny Escalanti; Vice President Virgil
                                                                                                Smith; Virgil S. Smith; Lorraine E. White; Quechan
                                                                                                Councilman Joaquin; Marsha Hill; Willie White;
                                                                                                Quechan Executive Secretary; Alexis Summerfield;
                                                            Thane D. Somerville                 Regina Escalanti; Council Member Aaron Brown;                                                                                                                      Email rendering legal advice of Thane Somerville^
12   27109    27109       27110                  06/01/17   <t.somerville@msaj.com>             Virgil S. Smith                                                                          Talking Points for Meeting With W&C                                       regarding fee negotiation talking points.
                                                                                                                                                                                                                                                                   Attached memorandum rendering legal advice of
                                                                                                                                                                                                                                  Talking Points re Attorney Fee   Thane Somerville^ regarding fee negotiation talking
13   27110    27109                     27109    06/01/17                                                                                                                                                                         Renegotiation.docx               points.
                                                                                                Willie White; President Keeny Escalanti; Vice
                                                                                                President Virgil Smith; Virgil S. Smith; Lorraine E.
                                                                                                White; Quechan Councilman Joaquin; Marsha Hill;
                                                                                                Quechan Executive Secretary; Alexis Summerfield;                                                                                                                   Email chain requesting and rendering legal advice of
                                                            Thane D. Somerville                 Regina Escalanti; Council Member Aaron Brown;                                            ATTORNEY-CLIENT PRIVILEGED                                                Thane Somerville^ regarding fee negotiation talking
14   27634    27634       27635                  06/01/17   <t.somerville@msaj.com>             Virgil S. Smith                                                                          Talking Points for Meeting With W&C                                       points.
                                                                                                                                                                                                                                                                   Attached memorandum rendering legal advice of
                                                                                                                                                                                                                                  Talking Points re Attorney Fee   Thane Somerville^ regarding fee negotiation talking
15   27635    27634                     27634    06/01/17                                                                                                                                                                         Renegotiation_2.docx             points.

                                                                                                                                                       l.white@quechantribe.com; 'Virgil S.
                                                                                                                                                       Smith'
                                                                                                                                                       <vs.smith@quechantribe.com>;
                                                                                                                                                       Regina Escalanti
                                                                                                                                                       <assttribalsecretary@quechantribe.co
                                                                                                                                                       m>; Vice President Virgil Smith
                                                                                                                                                       (vicepresident@quechantribe.com)
                                                                                                                                                       <vicepresident@quechantribe.com>;
                                                                                                                                                       President Keeny Escalanti
                                                                                                                                                       (quechanpresident@quechantribe.com
                                                                                                                                                       )
                                                                                                                                                       <quechanpresident@quechantribe.co
                                                                                                                                                       m>; m.hill@quechantribe.com;
                                                                                                                                                       Council Member Aaron Brown
                                                                                                                                                       (a.brown@quechantribe.com)
                                                                                                                                                       <a.brown@quechantribe.com>;
                                                                                                                                                       Alexis Summerfield
                                                                                                Quechan Councilman W.White; Lorraine E. White;         <tribalsecretary@quechantribe.com>;
                                                                                                Virgil S. Smith; Regina Escalanti; Vice President      Quechan Executive Secretary
                                                                                                Virgil Smith; President Keeny Escalanti; Marsha        <executivesecretary@quechantribe.co
                                                                                                Hill; Council Member Aaron Brown; Alexis               m>; j.joaquin@quechantribe.com;                                                                             Email chain requesting and rendering legal advice of
                                                            Thane D. Somerville                 Summerfield; Quechan Executive Secretary;              Virgil S. Smith                      RE: ATTORNEY-CLIENT PRIVILEGED                                         Thane Somerville^ regarding fee negotiation talking
16   25586                                       06/01/17   <t.somerville@msaj.com>             Quechan Councilman Joaquin; Virgil S. Smith            <vs.smith@quechantribe.com>          Talking Points for Meeting With W&C                                    points.
                                                            Quechan Executive Secretary
                                                            <executivesecretary@quechantribe.co                                                                                                                                                                    Email chain requesting legal advice from Thane
17   108925   108925      108931                 06/21/17   m>                                  Quechan Vice President Smith                                                             FW: Rosette paperwork                                                     Somerville^ regarding engagement agreement.
                                                                                                                                                                                                                                                                   Attached draft agreement providing information for the
                                                                                                                                                                                                                                                                   purpose of obtaining legal advice from Thane
18   108931   108925                    108925   06/21/17                                                                                                                                                                         20170621115232598.tif            Somerville^ regarding engagement terms.
                                                            Quechan Executive Secretary
                                                            <executivesecretary@quechantribe.co                                                                                                                                                                    Email requesting legal advice from Thane Somerville^
19   125400   125400      125406                 06/21/17   m>                                  Thane D. Somerville <t.somerville@msaj.com>                                              Rosette paperwork                                                         regarding engagement agreement.
                                                                                                                                                                                                                                                                   Attached draft agreement providing information for the
                                                                                                                                                                                                                                                                   purpose of obtaining legal advice from Thane
20   125406   125400                    125400   06/21/17                                                                                                                                                                         20170621115232598.tif            Somerville^ regarding engagement terms.
                                                            Quechan Executive Secretary
                                                            <executivesecretary@quechantribe.co                                                                                                                                                                    Email chain requesting legal advice from Thane
21   127443   127443      127447                 06/21/17   m>                                  Quechan Vice President Smith                                                             FW: Rosette paperwork                                                     Somerville^ regarding engagement agreement.
                                                                                                                                                                                                                                                                   Attached draft agreement providing information for the
                                                                                                                                                                                                                                                                   purpose of obtaining legal advice from Thane
22   127447   127443                    127443   06/21/17                                                                                                                                                                         20170621115232598.tif            Somerville^ regarding engagement terms.
                                                            Quechan Executive Secretary
                                                            <executivesecretary@quechantribe.co Jordan D. Joaquin; Councilman Brown; Lorraine E.                                                                                                                   Email discussing legal advice of Mason Morisset^
23   127859   127859      127865                 06/21/17   m>                                  White                                                                                    Rosette                                                                   regarding engagement agreement.
                                                                                                                                                                                                                                                                   Attached memorandum rendering legal advice of
24   127865   127859                    127859   06/21/17                                                                                                                                                                         Rosette.docx                     Mason Morisset^ regarding engagement terms.
                                                            Quechan Executive Secretary
                                                            <executivesecretary@quechantribe.co                                                                                                                                                                    Email chain requesting legal advice from Thane
25   129320   129320      129324                 06/21/17   m>                                  Mason D. Morisset <m.morisset@msaj.com>                                                  FW: Rosette paperwork                                                     Somerville^ regarding engagement agreement.
                                                                                                                                                                                                                                                                   Attached draft agreement providing information for the
                                                                                                                                                                                                                                                                   purpose of obtaining legal advice from Thane
26   129324   129320                    129320   06/21/17                                                                                                                                                                         20170621115232598.tif            Somerville^ regarding engagement terms.




                                                                                                                                                                                                                                                                                                                             Ex 6
                                                                                                                                                       2
                                                                                                                                                                                                                                                                                                                            P0149
                                                                                                          Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                       Case 3:17-cv-01436-RBM-DEBQuechan
                                                                    Document        328-9
                                                                         Tribe's Privilege Log --Filed  09/17/20
                                                                                                  Withheld Documents PageID.23024 Page 4 of 15
                                                                                                                                           March 11, 2020
     Document
              Family ID   Attachment       Parent   Family Date From                                Recipients                                           CC                                  Subject                                   Filename                                 Privilege Description
#    Id

                                                                                                                                                                                                                                                                                Email providing information for the purpose of
                                                               Quechan Executive Secretary         Robert Rosette <rosette@rosettelaw.com>; Richard                                                                                                                             obtaining legal advice from Robert Rosette^ , Richard
                          132398;132406;                       <executivesecretary@quechantribe.co Verri <rverri@rosettelaw.com>; Luke Christian                                                                                                                                Verri^ and Luke Christian^ regarding Williams &
27   132393   132393      132410                    06/21/17   m>                                  <lchristian@rosettelaw.com>                                                               William & Cochrane                                                                 Cochrane Fee Agreement and memorandum.
                                                                                                                                                                                                                                                                                Attached memorandum providing information for the
                                                                                                                                                                                                                                                                                purpose of obtaining legal advice from Robert Rosette^
                                                                                                                                                                                                                                                                                , Richard Verri^ and Luke Christian^ regarding
28   132398   132393                       132393   06/21/17                                                                                                                                                                           Williams & Cochrane 2.tif                Williams & Cochrane engagement.
                                                                                                                                                                                                                                                                                Attached agreement providing information for the
                                                                                                                                                                                                                                                                                purpose of obtaining legal advice from Robert Rosette^
                                                                                                                                                                                                                                                                                , Richard Verri^ and Luke Christian^ regarding
29   132406   132393                       132393   06/21/17                                                                                                                                                                           Williams & Cochrane.tif                  Williams & Cochrane engagement.
                                                                                                                                                                                                                                                                                Attached letter providing information for the purpose
                                                                                                                                                                                                                                                                                of obtaining legal advice from Robert Rosette^ ,
                                                                                                                                                                                                                                                                                Richard Verri^ and Luke Christian^ regarding
30   132410   132393                       132393   06/21/17                                                                                                                                                                           Williams & Cochrane 3.tif                Williams & Cochrane engagement.
                                                               Mason D. Morisset                                                                                                                                                                                                Email rendering legal advice of Mason Morisset^
31   138981   138981      138985                    06/21/17   <m.morisset@msaj.com>                Quechan Executive Secretary                                                              Rosette.docx                                                                       regarding engagement agreement.
                                                                                                                                                                                                                                                                                Attached memorandum rendering legal advice of
32   138985   138981                       138981   06/21/17                                                                                                                                                                           Rosette.docx                             Mason Morisset^ regarding engagement terms.
                                                               Quechan Executive Secretary
                                                               <executivesecretary@quechantribe.co Jordan D. Joaquin; Councilman Brown; Lorraine E.                                                                                                                             Email chain discussing legal advice of Mason
33   30968    30968       30975                     06/21/17   m>                                  White                                                                                     Rosette                                                                            Morisset^ regarding engagement agreement.
                                                                                                                                                                                                                                                                                Attached memorandum rendering legal advice of
34   30975    30968                        30968    06/21/17                                                                                                                                                                           Rosette.docx                             Mason Morisset^ regarding engagement terms.

                                                               Tribal Council Secretary                                                                                                      RESOLUTION FOR WILLIAMS                                               Email requesting legal advice from Thane Somerville^
35   109996   109996      110003                    06/22/17   <tribalsecretary@quechantribe.com>   Thane D. Somerville <t.somerville@msaj.com>                                              COCHRANE R.195.16                                                     regarding draft Tribal resolution approving Rosette.
                                                                                                                                                                                                                                                                   Attached draft Tribal resolution approving Rosette,
                                                                                                                                                                                                                                                                   providing information for the purpose of obtaining
                                                                                                                                                                                                                                       RESOLUTION FOR WILLIAMS     legal advice from Thane Somerville^ regarding terms
36   110003   109996                       109996   06/22/17                                                                                                                                                                           COCHRANE R.195.16.docx      of same.
                                                                                                                                                                                                                                                                   Email chain requesting and rendering legal advice of
                                                               Thane D. Somerville                                                                                                           RE: RESOLUTION FOR WILLIAMS                                           Thane Somerville^ regarding draft Tribal resolution
37   113782   113782      113787                    06/22/17   <t.somerville@msaj.com>              Tribal Council Secretary                                                                 COCHRANE R.195.16                                                     approving Rosette.
                                                                                                                                                                                                                                                                   Attached draft agreement rendering legal advice of
38   113787   113782                       113782   06/22/17                                                                                                                                                                           RESOLUTION FOR ROSETTE.docx Thane Somerville^ regarding engagement terms.
                                                                                                    President Keeny Escalanti; Vice President Virgil
                                                                                                    Smith; Virgil S. Smith; Lorraine E. White; Quechan
                                                                                                    Councilman Joaquin; Marsha Hill; Willie White;
                                                               Thane D. Somerville                  Quechan Executive Secretary; Alexis Summerfield;                                                                                                                            Email rendering legal advice of Thane Somerville^
39   28468    28468       28471                     06/22/17   <t.somerville@msaj.com>              Regina Escalanti; Virgil S. Smith                                                        Rosette Agreement                                                                  regarding draft engagement agreement.
                                                                                                                                                                                                                                                                                Attached letter rendering legal advice of Robert
40   28471    28468                        28468    06/22/17                                                                                                                                                                           Rosette Agreement.pdf                    Rosette^ regarding draft engagement agreement.
                                                                                                                                                                                                                                                                                Email chain requesting and rendering legal advice
                                                               Tribal Council Secretary                                                                                                      RE: RESOLUTION FOR WILLIAMS                                                        from Thane Somerville^ regarding draft Tribal
41   52591                                          06/22/17   <tribalsecretary@quechantribe.com>   Thane D. Somerville <t.somerville@msaj.com>                                              COCHRANE R.195.16                                                                  resolution approving Rosette.

                                                                                                                                                                                                                                                                                Email rendering legal advice and requesting
                                                                                                    Quechan Executive Secretary; Luke Christian          Luke Christian                      Quechan - 2017.06.23 - Draft Letter to                                             information necessary to render legal advice of Robert
                                                               Richard Verri                        <lchristian@rosettelaw.com>; Robert Rosette          <lchristian@rosettelaw.com>; Robert Tribal Membership re Compact Counsel                                               Rosette^, Richard Verri^ and Luke Christian^
42   135316   135316      135323                    06/23/17   <rverri@rosettelaw.com>              <rosette@rosettelaw.com>                             Rosette <rosette@rosettelaw.com>    RGV REVISED.docx                                                                   regarding change of counsel representation.
                                                                                                                                                                                                                                       Quechan - 2017.06.23 - Draft Letter to
                                                                                                                                                                                                                                       Tribal Membership re Compact           Attached letter rendering legal advice of Richard
43   135323   135316                       135316   06/23/17                                                                                                                                                                           Counsel RGV REVISED.docx               Verri^ regarding change of counsel representation.

                                                                                                    Quechan Executive Secretary; Richard Verri           Richard Verri                                                                                                          Email rendering legal advice of Luke Christian^ and
                          140147;140154;                       Luke Christian                       <rverri@rosettelaw.com>; Robert Rosette              <rverri@rosettelaw.com>; Robert                                                                                        requesting information necessary to render legal advice
44   140145   140145      140159                    06/23/17   <lchristian@rosettelaw.com>          <rosette@rosettelaw.com>                             Rosette <rosette@rosettelaw.com>    Correspondence Regarding Representation                                            regarding counsel representation correspondence.
                                                                                                                                                                                                                                       Quechan - 2017.06.23 - Draft Term.       Attached draft letter reflecting legal advice of Luke
45   140147   140145                       140145   06/23/17                                                                                                                                                                           Ltr. to WC .docx .docx                   Christian^ regarding counsel representation.
                                                                                                                                                                                                                                       Quechan - 2017.06.23 - Draft Corr. to
                                                                                                                                                                                                                                       J. Dhillon re change of counsel.docx     Attached draft letter reflecting legal advice of Luke
46   140154   140145                       140145   06/23/17                                                                                                                                                                           .docx                                    Christian^ regarding counsel representation.
                                                                                                                                                                                                                                       Quechan - 2017.06.23 - Draft Letter to
                                                                                                                                                                                                                                       Tribal Membership re Compact             Attached draft letter reflecting legal advice of Luke
47   140159   140145                       140145   06/23/17                                                                                                                                                                           Counsel.docx                             Christian^ regarding counsel representation.
                                                                                                                                                                                                                                                                                Email chain rendering legal advice of Robert Rosette^
                                                                                                                                                                                                                                                                                and Luke Christian^ and requesting information
                                                               Robert Rosette                                                                                                                FW: Correspondence Regarding                                                       necessary to render legal advice regarding counsel
48   169357   169357      171030                    06/23/17   <rosette@rosettelaw.com>             Willie White                                                                             Representation                                                                     representation correspondence.
                                                                                                                                                                                                                                                                                Attached draft letter reflecting legal advice of Robert
                                                                                                                                                                                                                                       Quechan - 2017.06.23 - Draft Term.       Rosette^ and Luke Christian^ regarding counsel
49   171030   169357                       169357   06/23/17                                                                                                                                                                           Ltr. to WC .docx (002).docx              representation.
                                                                                                                                                                                                                                                                                Email chain rendering legal advice of Luke Christian^
                                                               Quechan Executive Secretary                                                                                                                                                                                      and requesting information necessary to render legal
                                                               <executivesecretary@quechantribe.co                                                                                           RE: Correspondence Regarding                                                       advice regarding counsel representation
50   69357                                          06/23/17   m>                                  Luke Christian <lchristian@rosettelaw.com>                                                Representation                                                                     correspondence.




                                                                                                                                                                                                                                                                                                                                           Ex 6
                                                                                                                                                         3
                                                                                                                                                                                                                                                                                                                                          P0150
                                                                                                           Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                       Case 3:17-cv-01436-RBM-DEBQuechan
                                                                    Document        328-9
                                                                         Tribe's Privilege Log --Filed  09/17/20
                                                                                                  Withheld Documents PageID.23025 Page 5 of 15
                                                                                                                                              March 11, 2020
     Document
              Family ID   Attachment        Parent   Family Date From                                Recipients                                              CC                                  Subject                                    Filename                              Privilege Description
#    Id
                                                                                                                                                                                                                                                                                  Email chain rendering legal advice of Luke Christian
                                                                                                     Quechan Executive Secretary; Robert Rosette             Robert Rosette                                                                                                       and requesting information necessary to render legal
                                                                Luke Christian                       <rosette@rosettelaw.com>; Richard Verri                 <rosette@rosettelaw.com>; Richard   RE: Correspondence Regarding                                                     advice regarding counsel representation
51   78453                                           06/23/17   <lchristian@rosettelaw.com>          <rverri@rosettelaw.com>                                 Verri <rverri@rosettelaw.com>       Representation                                                                   correspondence.
                                                                                                                                                                                                                                                                                  Email chain rendering legal advice of Luke Christian^
                                                                Quechan Executive Secretary                                                                                                                                                                                       and requesting information necessary to render legal
                                                                <executivesecretary@quechantribe.co                                                                                              RE: Correspondence Regarding                                                     advice regarding counsel representation
52   67483                                           06/23/17   m>                                  Luke Christian <lchristian@rosettelaw.com>                                                   Representation                                                                   correspondence.

                                                                                                                                                                                                                                                                                  Email chain rendering legal advice and requesting
                                                                Quechan Executive Secretary         Richard Verri <rverri@rosettelaw.com>; Luke              Luke Christian'                      RE: Quechan - 2017.06.23 - Draft Letter                                         information necessary to render legal advice of Robert
                                                                <executivesecretary@quechantribe.co Christian <lchristian@rosettelaw.com>; Robert            <lchristian@rosettelaw.com>; 'Robert to Tribal Membership re Compact Counsel                                         Rosette^, Richard Verri^ and Luke Christian^
53   60770                                           06/23/17   m>                                  Rosette <rosette@rosettelaw.com>                         Rosette' <rosette@rosettelaw.com>    RGV REVISED.docx                                                                regarding change of counsel representation.
                                                                                                                                                                                                                                                                                  Email chain rendering legal advice and requesting
                                                                                                    Quechan Executive Secretary; Luke Christian              Luke Christian                      RE: Quechan - 2017.06.23 - Draft Letter                                          information necessary to render legal advice of Robert
                                                                Richard Verri                       <lchristian@rosettelaw.com>; Robert Rosette              <lchristian@rosettelaw.com>; Robert to Tribal Membership re Compact Counsel                                          Rosette^, Richard Verri^ and Luke Christian^
54   74091                                           06/23/17   <rverri@rosettelaw.com>             <rosette@rosettelaw.com>                                 Rosette <rosette@rosettelaw.com>    RGV REVISED.docx                                                                 regarding change of counsel representation.
                                                                Quechan Executive Secretary
                                                                <executivesecretary@quechantribe.co                                                                                                                                                                               Email requesting legal advice from Thane Somerville^
55   129937   129937      129941                     06/26/17   m>                                  Thane D. Somerville <t.somerville@msaj.com>                                                  Rosette contract                                                                 regarding draft engagement agreement.
                                                                                                                                                                                                                                                                                  Attached draft agreement providing information for the
                                                                                                                                                                                                                                                                                  purpose of obtaining legal advice from Thane
56   129941   129937                        129937   06/26/17                                                                                                                                                                               Rosette Contract.tif                  Somerville^ regarding engagement terms.
                                                                                                     Quechan Executive Secretary; Robert Rosette             Robert Rosette
                          136210; 136211;                       Richard Verri                        <rosette@rosettelaw.com>; Leigh Wink                    <rosette@rosettelaw.com>; Leigh                                                                                      Email chain rendering legal advice of Richard Verri^
57   136205   136205      136213                     06/27/17   <rverri@rosettelaw.com>              <lwink@rosettelaw.com>                                  Wink <lwink@rosettelaw.com>         AZ Compact - Entry Documents                                                     regarding compact negotiations.
                                                                                                                                                                                                                                            BLANK EXECUTION COPY
                                                                                                                                                                                                                                            Agreement to Amend Compact (TON       Attached agreement reflecting legal advice of Richard
58   136210   136205                        136205   06/27/17                                                                                                                                                                               edit 2).docx 2017.06.02.docx          Verri^ regarding compact negotiations.
                                                                                                                                                                                                                                            FINAL Mission Statement and
                                                                                                                                                                                                                                            Ground Rules (2017.01.27)             Attached statement reflecting legal advice of Richard
59   136211   136205                        136205   06/27/17                                                                                                                                                                               (003).doc1.doc                        Verri^ regarding compact negotiations.
                                                                                                                                                                                                                                            2016.01.27 Gaming Compact
                                                                                                                                                                                                                                            Confidentiality Agreement (Final    Attached agreement reflecting legal advice of Richard
60   136213   136205                        136205   06/27/17                                                                                                                                                                               Draft... (002).docx                 Verri^ regarding compact negotiations.
                                                                                                     Robert Rosette <rosette@rosettelaw.com>; Quechan Quechan Executive Secretary                                                                                               Email providing information for the purpose of
                                                                Willie White                         Executive Secretary                              <executivesecretary@quechantribe.co                                                                                       obtaining legal advice from Robert Rosette^ regarding
61   133237   133237      133239                     06/28/17   <w.white@quechantribe.com>           <executivesecretary@quechantribe.com>            m>                                  W&C Email June 15th 2017 (attached)                                                   Williams & Cochrane correspondence.
                                                                                                                                                                                                                                                                                Attached email chain, dated June 15, 2017, providing
                                                                                                                                                                                                                                                                                information for the purpose of obtaining legal advice
                                                                                                                                                                                                                                                                                from Robert Rosette^ regarding Williams & Cochrane
62   133239   133237                        133237   06/28/17                                                                                                                                                                               Doc - Jun 28 2017 - 4-31 PM.pdf     correspondence.
                                                                Robert Rosette                                                                                                                                                                                                  Email rendering legal advice of Robert Rosette^
63   136756   136756      136759                     06/30/17   <rosette@rosettelaw.com>             Quechan Executive Secretary                                                                 Letter to Cochrane & Williams                                                  regarding draft demand letter.
                                                                                                                                                                                                                                            2017 06 30 Ltr to Williams          Draft letter rendering legal advice of Robert Rosette^
64   136759   136756                        136756   06/30/17                                                                                                                                                                               Cochrane.doc                        regarding demand for cease and desist.
                                                                                                                                                                                                                                                                                Email chain requesting and rendering legal advice of
                                                                Christian Cienfuegos                 Tribal Council Secretary; Leigh Wink                    Leigh Wink                                                                                                         Christian Cienfuegos^ regarding assigned matter
65   115172   115172      115175                     07/20/17   <ccienfuegos@rosettelaw.com>         <lwink@rosettelaw.com>                                  <lwink@rosettelaw.com>              RE: summary                                                                    updates.
                                                                                                                                                                                                                                                                                Attached memorandum rendering legal advice of
66   115175   115172                        115172   07/20/17                                                                                                                                                                               2017-07-20 Rosette Legal Update.pdf Robert Rosette^ regarding assigned matter updates.
                                                                                                     Quechan Executive Secretary; Quechan Vice
                                                                                                     President Smith; Lorraine E. White; Quechan
                                                                                                     Councilman Joaquin; Councilman Brown; Marsha
                                                                                                     Hill; Willie White; Katelin Anderbery
                                                                                                     <kanderbery@rosettelaw.com>; Jonathon Sanchez
                                                                                                     <jsanchez@rosettelaw.com>; Saba Bazzazieh               Saba Bazzazieh
                                                                Robert Rosette                       <sbazzazieh@rosettelaw.com>; Jay Weiner                 <sbazzazieh@rosettelaw.com>; Jay    Legal Update As Requested by Tribal                                            Email chain requesting and rendering legal advice of
67   33002    33002       33003                      07/20/17   <rosette@rosettelaw.com>             <jweiner@rosettelaw.com>                                Weiner <jweiner@rosettelaw.com>     Council                                                                        Robert Rosette^ regarding assigned matter updates.
                                                                                                                                                                                                                                                                                Attached memorandum rendering legal advice of
68   33003    33002                         33002    07/20/17                                                                                                                                                                               2017-07-20 Rosette Legal Update.pdf Robert Rosette^ regarding assigned matter updates.
                                                                                                     Quechan Executive Secretary; Quechan Vice
                                                                                                     President Smith; Lorraine E. White; Quechan
                                                                                                     Councilman Joaquin; Councilman Brown; Marsha            Cecilia Zamora
                                                                                                     Hill; Willie White; Tribal Council Secretary; Cecilia   <czamora@rosettelaw.com>; Luke
                                                                Robert Rosette                       Zamora <czamora@rosettelaw.com>; Luke                   Christian                           Meeting with Joe Dhillon Regarding                                               Email rendering legal advice of Robert Rosette^
69   25710                                           07/21/17   <rosette@rosettelaw.com>             Christian <lchristian@rosettelaw.com>                   <lchristian@rosettelaw.com>         California Compact . . .                                                         regarding compact negotiation meeting.
                                                                                                     Quechan Executive Secretary; Quechan Vice
                                                                                                     President Smith; Lorraine E. White; Quechan
                                                                                                     Councilman Joaquin; Councilman Brown; Marsha            Cecilia Zamora
                                                                                                     Hill; Willie White; Tribal Council Secretary; Cecilia   <czamora@rosettelaw.com>; Luke
                                                                Robert Rosette                       Zamora <czamora@rosettelaw.com>; Luke                   Christian                           California Compact Draft ;California                                            Email rendering legal advice of Robert Rosette^
70   34670    34670       34671                      07/23/17   <rosette@rosettelaw.com>             Christian <lchristian@rosettelaw.com>                   <lchristian@rosettelaw.com>         Compact Draft                                                                   regarding draft Tribal-State Compact.
                                                                                                                                                                                                                                            07.18.2017 - Quechan Indian Tribe of
                                                                                                                                                                                                                                            Fort Yuma Reservation initial
                                                                                                                                                                                                                                            discussion draft Quechan redline -   Attached draft agreement rendering legal advice of
71   34671    34670                         34670    07/23/17                                                                                                                                                                               Rosette redlines.docx                Robert Rosette^ regarding Tribal-State Compact.
                                                                                                                                                                                                                                                                                 Email chain rendering legal advice of Saba Bazzazieh^
                                                                                                                                                                                                                                                                                 and discussing legal advice of Robert Rosette^
                                                                                                                                                                                                 RE: Memorandum re Strategy for Ft.                                              regarding matter strategy updates, including with
72   163036   163036      163040                     07/24/17   Leigh Wink <lwink@rosettelaw.com> Tribal Council Secretary                                                                       Yuma Health Center                                                              respect to California compact negotiations.



                                                                                                                                                                                                                                                                                                                                            Ex 6
                                                                                                                                                             4
                                                                                                                                                                                                                                                                                                                                           P0151
                                                                                                       Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                       Case 3:17-cv-01436-RBM-DEBQuechan
                                                                    Document        328-9
                                                                         Tribe's Privilege Log --Filed  09/17/20
                                                                                                  Withheld Documents PageID.23026 Page 6 of 15
                                                                                                                                          March 11, 2020
     Document
              Family ID   Attachment    Parent   Family Date From                                Recipients                                              CC                                  Subject                                   Filename                             Privilege Description
#    Id
                                                                                                                                                                                                                                                                           Email chain requesting and rendering legal advice of
                                                                                                                                                                                                                                                                           Robert Rosette^ regarding assigned matter updates,
                                                            Robert Rosette                       Tribal Council Secretary.; Leigh Wink                   Leigh Wink                          FW: Legal Update As Requested by Tribal                                       including with respect to California compact
73   163040   163036      163042        163036   07/24/17   <rosette@rosettelaw.com>             <lwink@rosettelaw.com>                                  <lwink@rosettelaw.com>              Council                                                                       negotiations.
                                                                                                                                                                                                                                                                           Attached memorandum rendering legal advice of
                                                                                                                                                                                                                                                                           Robert Rosette^ regarding assigned matter updates,
                                                                                                                                                                                                                                                                           including with respect to California compact
74   163042   163036                    163040   07/24/17                                                                                                                                                                              2017-07-20 Rosette Legal Update.pdf negotiations.
                                                                                                                                                                                                                                                                           Email chain gathering information for the purpose of
                                                                                              Tribal Council Secretary; Quechan Executive                                                    Meetings re: Tribal-State Compact                                             rendering legal advice of Robert Rosette^ regarding
75   54528                                       07/27/17   Leigh Wink <lwink@rosettelaw.com> Secretary                                                                                      Negotiations                                                                  compact negotiation meeting.
                                                                                                                                                                                                                                                                           Email chain gathering information for the purpose of
                                                            Tribal Council Secretary                                                                                                         RE: Meetings re: Tribal-State Compact                                         rendering legal advice of Robert Rosette^ regarding
76   50493                                       07/27/17   <tribalsecretary@quechantribe.com>   Leigh Wink <lwink@rosettelaw.com>                                                           Negotiations                                                                  compact negotiation meeting.
                                                                                                                                                                                                                                                                           Email chain gathering information for the purpose of
                                                                                                                                                                                             RE: Meetings re: Tribal-State Compact                                         rendering legal advice of Robert Rosette^ regarding
77   61790                                       07/27/17   Leigh Wink <lwink@rosettelaw.com> Tribal Council Secretary                                                                       Negotiations                                                                  compact negotiation meeting.
                                                                                                                                                                                                                                                                           Email chain gathering information for the purpose of
                                                            Tribal Council Secretary                                                                                                         RE: Meetings re: Tribal-State Compact                                         rendering legal advice of Robert Rosette^ regarding
78   54400                                       07/27/17   <tribalsecretary@quechantribe.com>   Leigh Wink <lwink@rosettelaw.com>                                                           Negotiations                                                                  compact negotiation meeting.
                                                                                                                                                                                                                                                                           Email chain gathering information for the purpose of
                                                                                                                                                                                             RE: Meetings re: Tribal-State Compact                                         rendering legal advice of Robert Rosette^ regarding
79   54893                                       07/27/17   Leigh Wink <lwink@rosettelaw.com> Tribal Council Secretary                                                                       Negotiations                                                                  compact negotiation meeting.
                                                                                                                                                                                                                                                                           Email chain gathering information for the purpose of
                                                            Tribal Council Secretary                                                                                                         RE: Meetings re: Tribal-State Compact                                         rendering legal advice of Robert Rosette^ regarding
80   46259                                       07/27/17   <tribalsecretary@quechantribe.com>   Leigh Wink <lwink@rosettelaw.com>                                                           Negotiations                                                                  compact negotiation meeting.
                                                                                                                                                                                                                                                                           Email chain gathering information for the purpose of
                                                                                              Tribal Council Secretary; Quechan Executive                                                    RE: Meetings re: Tribal-State Compact                                         rendering legal advice of Robert Rosette^ regarding
81   58797                                       07/27/17   Leigh Wink <lwink@rosettelaw.com> Secretary                                                                                      Negotiations                                                                  compact negotiation meeting.
                                                                                                                                                                                                                                                                           Email chain gathering information for the purpose of
                                                            Tribal Council Secretary                                                                                                         RE: Meetings re: Tribal-State Compact                                         rendering legal advice of Robert Rosette^ regarding
82   49301                                       07/28/17   <tribalsecretary@quechantribe.com>   Leigh Wink <lwink@rosettelaw.com>                                                           Negotiations                                                                  compact negotiation meeting.
                                                                                                                                                                                                                                                                           Email chain gathering information for the purpose of
                                                                                                                                                                                             RE: Meetings re: Tribal-State Compact                                         rendering legal advice of Robert Rosette^ regarding
83   57259                                       07/28/17   Leigh Wink <lwink@rosettelaw.com> Tribal Council Secretary                                                                       Negotiations                                                                  compact negotiation meeting.
                                                                                              Quechan Executive Secretary; Quechan Vice
                                                                                              President Smith; Lorraine E. White; Quechan
                                                                                              Councilman Joaquin; Councilman Brown; Marsha               Cecilia Zamora
                                                                                              Hill; Willie White; Tribal Council Secretary; Cecilia      <czamora@rosettelaw.com>; Luke                                                                                   Email rendering legal advice of Robert Rosette^ and
                                                            Robert Rosette                    Zamora <czamora@rosettelaw.com>; Luke                      Christian                           California Compact Meeting with                                              requesting information necessary to render legal advice
84   32698    32698       32699                  08/02/17   <rosette@rosettelaw.com>          Christian <lchristian@rosettelaw.com>                      <lchristian@rosettelaw.com>         Governor Brown's Office                                                      regarding compact negotiation meeting.
                                                                                                                                                                                                                                                                          Attached talking points rendering legal advice of
                                                                                                                                                                                                                                       2017 07 31 Quechan Meeting Talking Robert Rosette^ regarding compact negotiation
85   32699                                       08/02/17                                                                                                                                                                              Points .docx                       meeting.
                                                                                                 Quechan Executive Secretary; Quechan Vice
                                                                                                 President Smith; Lorraine E. White; Quechan
                                                                                                 Councilman Joaquin; Councilman Brown; Marsha      Cecilia Zamora
                                                                                                 Hill; Willie White; Tribal Council Secretary; Cecilia
                                                                                                                                                   <czamora@rosettelaw.com>; Luke                                                                                           Email chain rendering legal advice of Robert Rosette^
                                                            Robert Rosette                       Zamora <czamora@rosettelaw.com>; Luke             Christian                                 RE: California Compact Meeting with                                            and requesting information necessary to render legal
86   27260                                       08/02/17   <rosette@rosettelaw.com>             Christian <lchristian@rosettelaw.com>             <lchristian@rosettelaw.com>               Governor Brown's Office                                                        advice regarding compact negotiation meeting.
                                                                                                                                                   w.white@quechantribe.com; Luke
                                                                                                                                                   Christian
                                                                                                                                                   <lchristian@rosettelaw.com>;
                                                                                                                                                   l.white@quechantribe.com;
                                                                                                Robert Rosette <rosette@rosettelaw.com>; Willie    a.brown@quechantribe.com;
                                                                                                White; Luke Christian                              tribalsecretary@quechantribe.com;
                                                                                                <lchristian@rosettelaw.com>; Lorraine E. White;    m.hill@quechantribe.com;
                                                                                                Councilman Brown; Tribal Council Secretary;        vicepresident@quechantribe.com;
                                                            Quechan Executive Secretary         Marsha Hill; Quechan Vice President Smith; Cecilia Cecilia Zamora                                                                                                           Email chain rendering legal advice of Robert Rosette^
                                                            <executivesecretary@quechantribe.co Zamora <czamora@rosettelaw.com>; Quechan           <czamora@rosettelaw.com>;                 RE: California Compact Meeting with                                            and requesting information necessary to render legal
87   26541                                       08/02/17   m>                                  Councilman Joaquin                                 j.joaquin@quechantribe.com                Governor Brown's Office                                                        advice regarding compact negotiation meeting.
                                                                                                                                                   w.white@quechantribe.com; Luke
                                                                                                                                                   Christian
                                                                                                                                                   <lchristian@rosettelaw.com>;
                                                                                                                                                   l.white@quechantribe.com;
                                                                                                                                                   a.brown@quechantribe.com;
                                                                                                Quechan Executive Secretary; Willie White; Luke    tribalsecretary@quechantribe.com;
                                                                                                Christian <lchristian@rosettelaw.com>; Lorraine E. m.hill@quechantribe.com;
                                                                                                White; Councilman Brown; Tribal Council            vicepresident@quechantribe.com;
                                                                                                Secretary; Marsha Hill; Quechan Vice President     Cecilia Zamora                                                                                                           Email chain rendering legal advice of Robert Rosette^
                                                            Robert Rosette                      Smith; Cecilia Zamora <czamora@rosettelaw.com>; <czamora@rosettelaw.com>;                    RE: California Compact Meeting with                                            and requesting information necessary to render legal
88   25970                                       08/02/17   <rosette@rosettelaw.com>            Quechan Councilman Joaquin                         j.joaquin@quechantribe.com                Governor Brown's Office                                                        advice regarding compact negotiation meeting.

                                                                                                 Quechan Vice President Smith; Luke Christian            Luke Christian                                                                                                   Email chain rendering legal advice of Robert Rosette^
                                                            Robert Rosette                       <lchristian@rosettelaw.com>; Cecilia Zamora             <lchristian@rosettelaw.com>; Cecilia RE: California Compact Meeting with                                         and requesting information necessary to render legal
89   98432    98432       98438                  08/02/17   <rosette@rosettelaw.com>             <czamora@rosettelaw.com>                                Zamora <czamora@rosettelaw.com> Governor Brown's Office                                                          advice regarding compact negotiation meeting.
                                                                                                                                                                                                                                                                          Attached talking points rendering legal advice of
                                                                                                                                                                                                                                       2017 07 31 Quechan Meeting Talking Robert Rosette^ regarding compact negotiation
90   98438    98432                     98432    08/02/17                                                                                                                                                                              Points .docx                       meeting.




                                                                                                                                                                                                                                                                                                                                     Ex 6
                                                                                                                                                         5
                                                                                                                                                                                                                                                                                                                                    P0152
                                                                                                        Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                        Case 3:17-cv-01436-RBM-DEBQuechan
                                                                     Document        328-9
                                                                          Tribe's Privilege Log --Filed  09/17/20
                                                                                                   Withheld Documents PageID.23027 Page 7 of 15
                                                                                                                                         March 11, 2020
      Document
               Family ID   Attachment    Parent   Family Date From                                Recipients                                          CC                                    Subject                                    Filename                             Privilege Description
 #    Id

                                                                                                                                                                                                                                                                            Email chain rendering legal advice of Robert Rosette^
                                                             Robert Rosette                                                                                                                 RE: California Compact Meeting with                                             and requesting information necessary to render legal
91    43023                                       08/02/17   <rosette@rosettelaw.com>             Quechan Vice President Smith                                                              Governor Brown's Office                                                         advice regarding compact negotiation meeting.

                                                                                                                                                                                                                                                                            Email chain rendering legal advice of Robert Rosette^
                                                             Robert Rosette                                                                                                                 FW: California Compact Meeting with                                             and requesting information necessary to render legal
92    75077                                       08/02/17   <rosette@rosettelaw.com>             Quechan Executive Secretary                                                               Governor Brown's Office                                                         advice regarding compact negotiation meeting.
                                                                                                  Robert Rosette <rosette@rosettelaw.com>; Quechan
                                                                                                  Executive Secretary; Quechan Vice President Smith;
                                                                                                  Lorraine E. White; Quechan Councilman Joaquin;
                                                                                                  Councilman Brown; Marsha Hill; Willie White;                                                                                                                            Email chain rendering legal advice of Robert Rosette^
                                                             Cecilia Zamora                       Tribal Council Secretary; Luke Christian           Luke Christian                         Re: California Compact Meeting with                                           and requesting information necessary to render legal
93    32063    32063       32064                  08/03/17   <czamora@rosettelaw.com>             <lchristian@rosettelaw.com>                        <lchristian@rosettelaw.com>            Governor Brown's Office                                                       advice regarding compact negotiation meeting.
                                                                                                                                                                                                                                                                          Attached talking points rendering legal advice of
                                                                                                                                                                                                                                       2017 08 02 Quechan Meeting Talking Robert Rosette^ regarding compact negotiation
94    32064    32063                     32063    08/03/17                                                                                                                                                                             Points .docx                       meeting.
                                                                                                                                                                                                                                                                          Email chain rendering legal advice of Robert Rosette^
                                                             Tribal Council Secretary                                                                                                       RE: California Compact Meeting with                                           and requesting legal advice from Cecilia Zamora^
95    51867                                       08/03/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                   Governor Brown's Office                                                       regarding compact negotiation meeting.

                                                                                                                                                                                                                                                                            Email chain rendering legal advice of Robert Rosette^
                                                             Cecilia Zamora                                                                                                                 Re: California Compact Meeting with                                             and requesting information necessary to render legal
96    54523                                       08/03/17   <czamora@rosettelaw.com>             Tribal Council Secretary                                                                  Governor Brown's Office                                                         advice regarding compact negotiation meeting.
                                                                                                                                                                                                                                                                            Email requesting information necessary to render legal
                                                                                                  Tribal Council Secretary; Luke Christian            Luke Christian                                                                                                        advice of Cecilia Zamora^, Robert Rosette^ and Luke
                                                             Cecilia Zamora                       <lchristian@rosettelaw.com>; Robert Rosette         <lchristian@rosettelaw.com>; Robert                                                                                   Christian^ regarding location and description of
97    56622                                       08/03/17   <czamora@rosettelaw.com>             <rosette@rosettelaw.com>                            Rosette <rosette@rosettelaw.com>    Quechan Reservation Map and Description                                           Reservation.
                                                                                                                                                                                                                                                                            Email discussing legal advice of Robert Rosette^
98    51017                                       08/03/17   Leigh Wink <lwink@rosettelaw.com> Tribal Council Secretary                                                                     Tomorrow's Meeting with J. Dhillon                                              regarding compact negotiation meeting.
                                                             Tribal Council Secretary                                                                                                                                                                                       Email chain discussing legal advice of Robert Rosette^
99    55277                                       08/03/17   <tribalsecretary@quechantribe.com> Leigh Wink <lwink@rosettelaw.com>                                                           RE: Tomorrow's Meeting with J. Dhillon                                          regarding compact negotiation meeting.
                                                                                                                                                                                                                                                                            Email chain discussing legal advice of Robert Rosette^
100   55119                                       08/03/17   Leigh Wink <lwink@rosettelaw.com> Tribal Council Secretary                                                                     RE: Tomorrow's Meeting with J. Dhillon                                          regarding compact negotiation meeting.

                                                                                                                                                      tribalsecretary@quechantribe.com;                                                                                     Email requesting information necessary to render legal
                                                                                                  Chase Choate; Tribal Council Secretary; Luke        Luke Christian                                                                                                        advice of Cecilia Zamora^, Robert Rosette^ and Luke
                                                             Cecilia Zamora                       Christian <lchristian@rosettelaw.com>; Robert       <lchristian@rosettelaw.com>; Robert                                                                                   Christian^ regarding location and description of
101   55983                                       08/03/17   <czamora@rosettelaw.com>             Rosette <rosette@rosettelaw.com>                    Rosette <rosette@rosettelaw.com>    Reservation Map and Description                                                   Reservation.

                                                                                                  Cecilia Zamora <czamora@rosettelaw.com>; Tribal     tribalsecretary@quechantribe.com;                                                                                     Email chain requesting information necessary to render
                                                                                                  Council Secretary; Luke Christian                   Luke Christian                                                                                                        legal advice of Cecilia Zamora^, Robert Rosette^ and
                                                             Chase Choate                         <lchristian@rosettelaw.com>; Robert Rosette         <lchristian@rosettelaw.com>; Robert                                                                                   Luke Christian^ regarding location and description of
102   55122                                       08/04/17   <c.choate@quechantribe.com>          <rosette@rosettelaw.com>                            Rosette <rosette@rosettelaw.com>      Re: Reservation Map and Description                                             Reservation.
                                                                                                                                                      vicepresident@quechantribe.com;
                                                                                                                                                      l.white@quechantribe.com;
                                                                                                  Quechan Executive Secretary; Tribal Council         j.joaquin@quechantribe.com;
                                                                                                  Secretary; Quechan Vice President Smith; Lorraine   a.brown@quechantribe.com;             Quechan Compact with State of California
                                                             Cecilia Zamora                       E. White; Quechan Councilman Joaquin;               m.hill@quechantribe.com;              ;Quechan Compact with State of                                                  Email rendering legal advice of Cecilia Zamora^
103   32235    32235       32236                  08/15/17   <czamora@rosettelaw.com>             Councilman Brown; Marsha Hill; Willie White         w.white@quechantribe.com              California                                                                      regarding Tribal-State Compact due diligence.
                                                                                                                                                                                                                                       2017.08.14 Memo To President         Attached memorandum rendering legal advice of
                                                                                                                                                                                                                                       Escalanti Requesting Casino          Cecilia Zamora^ regarding Tribal-State Compact due
104   32236    32235                     32235    08/15/17                                                                                                                                                                             Documents .pdf                       diligence.
                                                             Quechan Executive Secretary
                                                             <executivesecretary@quechantribe.co                                                                                            RE: Quechan Compact with State of                                               Email chain rendering legal advice of Cecilia Zamora^
105   67457                                       08/15/17   m>                                  Cecilia Zamora <czamora@rosettelaw.com>                                                    California                                                                      regarding Tribal-State Compact due diligence.

                                                             Cecilia Zamora                                                                                                                 Re: Quechan Compact with State of                                               Email chain rendering legal advice of Cecilia Zamora^
106   76678                                       08/15/17   <czamora@rosettelaw.com>            Quechan Executive Secretary                                                                California                                                                      regarding Tribal-State Compact due diligence.
                                                             Quechan Executive Secretary
                                                             <executivesecretary@quechantribe.co                                                                                            RE: Quechan Compact with State of                                               Email chain rendering legal advice of Cecilia Zamora^
107   61007                                       08/15/17   m>                                  Cecilia Zamora <czamora@rosettelaw.com>                                                    California                                                                      regarding Tribal-State Compact due diligence.
                                                                                                                                                                                                                                                                            Email chain providing information for the purpose of
                                                             Tribal Council Secretary             Cecilia Zamora <czamora@rosettelaw.com>; Luke                                                                                                                             obtaining legal advice from Cecilia Zamora^ regarding
108   107246   107246      107252                 08/16/17   <tribalsecretary@quechantribe.com>   Christian <lchristian@rosettelaw.com>               lchristian@rosettelaw.com             FW: update                                                                      Tribal ordinances.
                                                                                                                                                                                                                                                                            Attached ordinance providing information for the
                                                                                                                                                                                                                                                                            purpose of obtaining legal advice from Cecilia Zamora^
109   107252   107246                    107246   08/16/17                                                                                                                                                                             Tribal Relations Ordinance.pdf       regarding Tribal regulations.

                                                                                                                                                                                                                                                                            Email chain providing information for the purpose of
                                                             Tribal Council Secretary             Cecilia Zamora <czamora@rosettelaw.com>; Luke                                             FW: Emailing - R-193-06 Regular 110706                                          obtaining legal advice from Cecilia Zamora^ and Luke
110   110145   110145      110147                 08/16/17   <tribalsecretary@quechantribe.com>   Christian <lchristian@rosettelaw.com>               lchristian@rosettelaw.com             Amended Gaming Compact.pdf                                                      Christian^ regarding amended gaming compact.

                                                                                                                                                                                                                                                                            Attached amendment providing information for the
                                                                                                                                                                                                                                       R-193-06 Regular 110706 Amended      purpose of obtaining legal advice from Cecilia Zamora^
111   110147   110145                    110145   08/16/17                                                                                                                                                                             Gaming Compact.pdf                   and Luke Christian^ regarding gaming compact.
                                                                                                                                                                                                                                                                            Email providing information for the purpose of
                                                             Tribal Council Secretary                                                                                                       Emailing - R-193-06 Regular 110706                                              obtaining legal advice from Cecilia Zamora^ regarding
112   110783   110783      110788                 08/16/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                   Amended Gaming Compact.pdf                                                      amended gaming compact.




                                                                                                                                                                                                                                                                                                                                      Ex 6
                                                                                                                                                      6
                                                                                                                                                                                                                                                                                                                                     P0153
                                                                                                       Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                        Case 3:17-cv-01436-RBM-DEBQuechan
                                                                     Document        328-9
                                                                          Tribe's Privilege Log --Filed  09/17/20
                                                                                                   Withheld Documents PageID.23028 Page 8 of 15
                                                                                                                                         March 11, 2020
      Document
               Family ID   Attachment    Parent   Family Date From                                Recipients                                      CC                                 Subject                                   Filename                             Privilege Description
 #    Id
                                                                                                                                                                                                                                                                    Attached amendment providing information for the
                                                                                                                                                                                                                               R-193-06 Regular 110706 Amended      purpose of obtaining legal advice from Cecilia Zamora^
113   110788   110783                    110783   08/16/17                                                                                                                                                                     Gaming Compact.pdf                   regarding gaming compact.
                                                                                                                                                                                                                                                                    Email chain providing information for the purpose of
                                                             Tribal Council Secretary             Cecilia Zamora <czamora@rosettelaw.com>; Luke                                                                                                                     obtaining legal advice from Cecilia Zamora^ regarding
114   111040   111040      111044                 08/16/17   <tribalsecretary@quechantribe.com>   Christian <lchristian@rosettelaw.com>           lchristian@rosettelaw.com          FW: update                                                                     Tribal ordinances.
                                                                                                                                                                                                                                                                    Attached ordinance providing information for the
                                                                                                                                                                                                                                                                    purpose of obtaining legal advice from Cecilia Zamora^
115   111044   111040                    111040   08/16/17                                                                                                                                                                     Environmental Policy Ordinance.pdf   regarding Tribal regulations.
                                                                                                                                                                                                                                                                    Email chain providing information for the purpose of
                                                             Tribal Council Secretary                                                                                                FW: Emailing - Tribal State Compact                                            obtaining legal advice from Cecilia Zamora^ regarding
116   114803   114803      114808                 08/16/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                            Between CA and QIT (b).pdf                                                     Tribal-State Compact.
                                                                                                                                                                                                                                                                    Attached draft agreement providing information for the
                                                                                                                                                                                                                               Tribal State Compact Between CA      purpose of obtaining legal advice from Cecilia Zamora^
117   114808   114803                    114803   08/16/17                                                                                                                                                                     and QIT (b).pdf                      regarding Tribal-State Compact.
                                                                                                                                                                                                                                                                    Email chain providing information for the purpose of
                                                             Tribal Council Secretary             Cecilia Zamora <czamora@rosettelaw.com>; Luke                                                                                                                     obtaining legal advice from Cecilia Zamora^ regarding
118   115257   115257      115271                 08/16/17   <tribalsecretary@quechantribe.com>   Christian <lchristian@rosettelaw.com>           lchristian@rosettelaw.com          FW: update                                                                     Tribal regulations.
                                                                                                                                                                                                                                                                    Attached regulation providing information for the
                                                                                                                                                                                                                                                                    purpose of obtaining legal advice from Cecilia Zamora^
119   115271   115257                    115257   08/16/17                                                                                                                                                                     Third Party Injury Regulation.pdf    regarding Tribal gaming ordinances.
                                                                                                                                                                                                                                                                    Email providing information for the purpose of
                                                             Tribal Council Secretary                                                                                                Emailing - Tribal State Compact Between                                        obtaining legal advice from Cecilia Zamora^ regarding
120   119440   119440      119442                 08/16/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                            CA and QIT (b).pdf                                                             Tribal-State Compact.
                                                                                                                                                                                                                                                                    Attached draft agreement providing information for the
                                                                                                                                                                                                                               Tribal State Compact Between CA      purpose of obtaining legal advice from Cecilia Zamora^
121   119442   119440                    119440   08/16/17                                                                                                                                                                     and QIT (b).pdf                      regarding Tribal-State Compact.
                                                                                                                                                                                                                                                                    Email chain providing information for the purpose of
                                                             Tribal Council Secretary             Cecilia Zamora <czamora@rosettelaw.com>; Luke                                      FW: Emailing - Tribal State Compact                                            obtaining legal advice from Cecilia Zamora^ and Luke
122   119719   119719      119730                 08/16/17   <tribalsecretary@quechantribe.com>   Christian <lchristian@rosettelaw.com>           lchristian@rosettelaw.com          Between CA and QIT (b).pdf                                                     Christian^ regarding Tribal-State Compact.

                                                                                                                                                                                                                                                                    Attached draft agreement providing information for the
                                                                                                                                                                                                                               Tribal State Compact Between CA      purpose of obtaining legal advice from Cecilia Zamora^
123   119730   119719                    119719   08/16/17                                                                                                                                                                     and QIT (b).pdf                      and Luke Christian^ regarding Tribal-State Compact.
                                                                                                                                                                                                                                                                    Email providing information for the purpose of
                                                                                                                                                                                     Undeliverable: Emailing - Tribal State                                         obtaining legal advice from Cecilia Zamora^ regarding
124   162639   162639      162643                 08/16/17   System Administrator                 Cecilia Zamora <czamora@rosettelaw.com>                                            Compact Between CA and QIT (b).pdf                                             Tribal-State Compact.
                                                                                                                                                                                                                                                                    Email chain providing information for the purpose of
                                                             Tribal Council Secretary                                                                                                FW: Emailing - Tribal State Compact                                            obtaining legal advice from Cecilia Zamora^ regarding
125   162643   162639      162646        162639   08/16/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                            Between CA and QIT (b).pdf                                                     Tribal-State Compact.
                                                                                                                                                                                                                                                                    Attached draft agreement providing information for the
                                                                                                                                                                                                                               Tribal State Compact Between CA      purpose of obtaining legal advice from Cecilia Zamora^
126   162646   162639                    162643   08/16/17                                                                                                                                                                     and QIT (b).pdf                      regarding Tribal-State Compact.
                                                                                                                                                                                                                                                                    Email providing information for the purpose of
                                                                                                  Cecilia Zamora <czamora@rosettelaw.com>; Luke                                      Undeliverable: Emailing - Tribal State                                         obtaining legal advice from Cecilia Zamora^ and Luke
127   162771   162771      162774                 08/16/17   System Administrator                 Christian <lchristian@rosettelaw.com>           lchristian@rosettelaw.com          Compact Between CA and QIT (b).pdf                                             Christian^ regarding Tribal-State Compact.
                                                                                                                                                                                                                                                                    Email chain providing information for the purpose of
                                                             Tribal Council Secretary             Cecilia Zamora <czamora@rosettelaw.com>; Luke                                      FW: Emailing - Tribal State Compact                                            obtaining legal advice from Cecilia Zamora^ and Luke
128   162774   162771      162776        162771   08/16/17   <tribalsecretary@quechantribe.com>   Christian <lchristian@rosettelaw.com>           lchristian@rosettelaw.com          Between CA and QIT (b).pdf                                                     Christian^ regarding Tribal-State Compact.

                                                                                                                                                                                                                                                                    Attached draft agreement providing information for the
                                                                                                                                                                                                                               Tribal State Compact Between CA      purpose of obtaining legal advice from Cecilia Zamora^
129   162776   162771                    162774   08/16/17                                                                                                                                                                     and QIT (b).pdf                      and Luke Christian^ regarding Tribal-State Compact.
                                                                                                                                                                                                                                                                    Email providing information for the purpose of
                                                                                                                                                                                     Undeliverable: Emailing - Tribal State                                         obtaining legal advice from Cecilia Zamora^ regarding
130   163413   163413      163414                 08/16/17   System Administrator                 Cecilia Zamora <czamora@rosettelaw.com>                                            Compact Between CA and QIT (b).pdf                                             Tribal-State Compact.
                                                                                                                                                                                                                                                                    Email providing information for the purpose of
                                                             Tribal Council Secretary                                                                                                Emailing - Tribal State Compact Between                                        obtaining legal advice from Cecilia Zamora^ regarding
131   163414   163413      163415        163413   08/16/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                            CA and QIT (b).pdf                                                             Tribal-State Compact.
                                                                                                                                                                                                                                                                    Attached draft agreement providing information for the
                                                                                                                                                                                                                               Tribal State Compact Between CA      purpose of obtaining legal advice from Cecilia Zamora^
132   163415   163413                    163414   08/16/17                                                                                                                                                                     and QIT (b).pdf                      regarding Tribal-State Compact.

                                                             Quechan Councilman W.White                                                                                              Fwd: Quechan Compact with State of                                             Email chain rendering legal advice of Cecilia Zamora^
133   253941                                      08/16/17   <w.white@quechantribe.com>           williemwhite@gmail.com                                                             California                                                                     regarding Tribal-State Compact due diligence.
                                                                                                                                                                                                                                                                    Email chain providing information for the purpose of
                                                             Tribal Council Secretary             Cecilia Zamora <czamora@rosettelaw.com>; Luke                                      FW: Tribal State Compact Between CA                                            obtaining legal advice from Cecilia Zamora^ and Luke
134   162529   162529      162530                 08/17/17   <tribalsecretary@quechantribe.com>   Christian <lchristian@rosettelaw.com>           lchristian@rosettelaw.com          and QIT (b)                                                                    Christian^ regarding Tribal-State Compact.

                                                                                                                                                                                                                                                                    Attached draft agreement providing information for the
                                                                                                                                                                                                                               Tribal State Compact Between CA      purpose of obtaining legal advice from Cecilia Zamora^
135   162530   162529                    162529   08/17/17                                                                                                                                                                     and QIT (b).pdf                      and Luke Christian^ regarding Tribal-State Compact.
                                                                                                  czamora@rosettelaw.com
                                                                                                  <czamora@rosettelaw.com>;
                                                                                                  lchristian@rosettelaw.com                       lchristian@rosettelaw.com'                                                                                        Email providing information for the purpose of
                                                             Tribal Council Secretary             <lchristian@rosettelaw.com>; Tribal Council     <lchristian@rosettelaw.com>;       Tribal State Compact Between CA and                                            obtaining legal advice from Cecilia Zamora^ and Luke
136   162767   162767      162769                 08/17/17   <tribalsecretary@quechantribe.com>   Secretary                                       tribalsecretary@quechantribe.com   QIT (b)                                                                        Christian^ regarding Tribal-State Compact.

                                                                                                                                                                                                                                                                    Attached draft agreement providing information for the
                                                                                                                                                                                                                               Tribal State Compact Between CA      purpose of obtaining legal advice from Cecilia Zamora^
137   162769   162767                    162767   08/17/17                                                                                                                                                                     and QIT (b).pdf                      and Luke Christian^ regarding Tribal-State Compact.



                                                                                                                                                                                                                                                                                                                              Ex 6
                                                                                                                                                  7
                                                                                                                                                                                                                                                                                                                             P0154
                                                                                                        Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                        Case 3:17-cv-01436-RBM-DEBQuechan
                                                                     Document        328-9
                                                                          Tribe's Privilege Log --Filed  09/17/20
                                                                                                   Withheld Documents PageID.23029 Page 9 of 15
                                                                                                                                        March 11, 2020
      Document
               Family ID   Attachment    Parent   Family Date From                                Recipients                                         CC                                 Subject                                   Filename                         Privilege Description
 #    Id

                                                                                                                                                                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                             Megan Montague                                                                                                                                                                                        and requesting information necessary to render legal
138   47157                                       08/17/17   <MeganM@playqcr.com>                 Tribal Council Secretary                                                              FW: Tribal-State of California Compact                                     advice regarding Tribal regulations and ordinances.
                                                                                                                                                                                                                                                                   Email chain providing information for the purpose of
                                                             Cecilia Zamora                                                                                                             Re: Tribal State Compact Between CA and                                    obtaining legal advice from Cecilia Zamora^ and Luke
139   52978                                       08/17/17   <czamora@rosettelaw.com>             Tribal Council Secretary                                                              QIT (b)                                                                    Christian^ regarding Tribal-State Compact.
                                                                                                                                                                                                                                                                   Email chain providing information for the purpose of
                                                             Tribal Council Secretary                                                                                                   RE: Tribal State Compact Between CA                                        obtaining legal advice from Cecilia Zamora^ and Luke
140   50171                                       08/17/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                               and QIT (b)                                                                Christian^ regarding Tribal-State Compact.

                                                                                                                                                                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                             Cecilia Zamora                                                                                                                                                                                        and providing information for the purpose of obtaining
141   106387   106387      106392                 08/18/17   <czamora@rosettelaw.com>             Tribal Council Secretary                                                              Re: Tribal-State of California Compact                                     legal advice regarding Tribal resolutions.
                                                                                                                                                                                                                                  Resolution Approving Tribal-
                                                                                                                                                                                                                                  California State Compact-DRAFT   Attached draft resolution rendering legal advice of
142   106392   106387                    106387   08/18/17                                                                                                                                                                        FINAL.docx                       Cecilia Zamora^ regarding Tribal-State compact.
                                                                                                                                                                                                                                                                   Email rendering legal advice of Cecilia Zamora^ and
                                                             Cecilia Zamora                                                                                                                                                                                        requesting information necessary to render legal advice
143   49781                                       08/18/17   <czamora@rosettelaw.com>             Tribal Council Secretary                                                              Tribal-State of California Compact                                         regarding Tribal resolutions.
                                                                                                                                                                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                             Tribal Council Secretary                                                                                                                                                                              and requesting information necessary to render legal
144   50227                                       08/18/17   <tribalsecretary@quechantribe.com>   Esteban Gomez                                                                         FW: Tribal-State of California Compact                                     advice regarding Tribal resolutions.

                                                                                                                                                                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                             Cecilia Zamora                                                                                                                                                                                        and providing information for the purpose of obtaining
145   51176                                       08/18/17   <czamora@rosettelaw.com>             Tribal Council Secretary                                                              Re: Tribal-State of California Compact                                     legal advice regarding Tribal resolutions.

                                                                                                                                                                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                             Tribal Council Secretary                                                                                                                                                                              and providing information for the purpose of obtaining
146   46439                                       08/18/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                               RE: Tribal-State of California Compact                                     legal advice regarding Tribal resolutions.

                                                                                                  Tribal Council Secretary; Luke Christian           Luke Christian                                                                                                Email chain providing information for the purpose of
                                                             Cecilia Zamora                       <lchristian@rosettelaw.com>; Robert Rosette        <lchristian@rosettelaw.com>; Robert Re: Resolution Approving Tribal-                                          obtaining legal advice from Cecilia Zamora^ regarding
147   47219                                       08/18/17   <czamora@rosettelaw.com>             <rosette@rosettelaw.com>                           Rosette <rosette@rosettelaw.com>    California State Compact-DRAFT FINAL                                      draft Tribal-State Compact.
                                                                                                  Quechan Executive Secretary; Quechan Vice
                                                                                                  President; Lorraine E. White; Quechan Councilman
                                                                                                  Joaquin; Councilman Brown; Marsha Hill; Willie
                                                                                                  White; Tribal Council Secretary; Robert Rosette    Robert Rosette                                                                                                Email rendering legal advice of Luke Christian^ and
                                                             Luke Christian                       <rosette@rosettelaw.com>; Cecilia Zamora           <rosette@rosettelaw.com>; Cecilia Compact Negotiations/Settlement with                                        requesting information necessary to render legal advice
148   27356                                       08/21/17   <lchristian@rosettelaw.com>          <czamora@rosettelaw.com>                           Zamora <czamora@rosettelaw.com> State                                                                         regarding compact negotiation terms.
                                                                                                                                                                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                                                                                                                                                                                                                                   and requesting information necessary to render legal
                                                             Cecilia Zamora                                                                                                                                                                                        advice regarding compact provision pertaining to
149   50733                                       08/22/17   <czamora@rosettelaw.com>             Tribal Council Secretary                                                              Re: Employee Earnings Withholdings                                         employee earnings withholding.
                                                                                                                                                                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                                                                Councilman Brown; Lorraine E. White; Quechan                                                                                                                       and requesting information necessary to render legal
                                                             Tribal Council Secretary           Councilman Joaquin; Virgil S. Smith; Marsha Hill;                                      FW: Employee Earnings Withholdings                                          advice regarding compact provision pertaining to
150   26942                                       08/22/17   <tribalsecretary@quechantribe.com> Willie White; Quechan Executive Secretary                                              ;FW: Employee Earnings Withholdings                                         employee earnings withholding.
                                                                                                Tribal Council Secretary; Lorraine E. White;
                                                                                                Quechan Councilman Joaquin; Virgil S. Smith;
                                                                                                Marsha Hill; Willie White; Quechan Executive
                                                                                                Secretary; Lorraine E. White; Quechan Councilman                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                                                                Joaquin; Virgil S. Smith; Marsha Hill; Willie White;                                                                                                               and providing information for the purpose of obtaining
                                                             Councilman Brown                   Quechan Executive Secretary; Tribal Council                                            RE: Employee Earnings Withholdings                                          legal advice regarding compact provision pertaining to
151   27162                                       08/22/17   <a.brown@quechantribe.com>         Secretary                                                                              ;RE: Employee Earnings Withholdings                                         employee earnings withholding.
                                                                                                Quechan Executive Secretary; Quechan Vice
                                                                                                President Smith; Lorraine E. White; Quechan
                                                                                                Councilman Joaquin; Councilman Brown; Marsha
                                                                                                Hill; Willie White; Tribal Council Secretary;
                                                                                                Quechan President; Robert Rosette                    Robert Rosette
                                                             Luke Christian                     <rosette@rosettelaw.com>; Cecilia Zamora             <rosette@rosettelaw.com>; Cecilia                                                                             Email rendering legal advice of Luke Christian^
152   25390                                       08/23/17   <lchristian@rosettelaw.com>        <czamora@rosettelaw.com>                             Zamora <czamora@rosettelaw.com> Explanation of Compact Settlement Offer                                       regarding compact settlement offer terms.
                                                                                                President Keeny Escalanti; Quechan Vice President;
                                                                                                Quechan Councilman Joaquin; Marsha Hill; Council
                                                                                                Men Brown; Willie White; Lorraine E. White;                                                                                                                        Email chain requesting and rendering legal advice of
                                                                                                Charles Montague; Charles Montague                                                     FW: Quechan - Loan Documents (attorney                                      Thane Somerville^ regarding updated credit agreement
153   26212                                       08/23/17   Phil Simons <PSimons@playqcr.com> <cmontague@playqcr.com>                                                                 client privileged)                                                          and ongoing compact negotiations.
                                                                                                                                                                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                                                                                                                                                                                                                                   and requesting information necessary to render legal
                                                             Cecilia Zamora                                                                                                                                                                                        advice regarding compact provision pertaining to
154   47919                                       08/23/17   <czamora@rosettelaw.com>             Tribal Council Secretary                                                              Re: Employee Earnings Withholdings                                         employee earnings withholding.
                                                                                                                                                                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                                                                                                                                                                                                                                   and requesting information necessary to render legal
                                                             Cecilia Zamora                                                                                                                                                                                        advice regarding compact provision pertaining to
155   81534                                       08/23/17   <czamora@rosettelaw.com>             Quechan Executive Secretary                                                           FW: Employee Earnings Withholdings                                         employee earnings withholding.
                                                                                                                                                                                                                                                                   Email chain rendering legal advice of Cecilia Zamora^
                                                                                                                                                                                                                                                                   and requesting information necessary to render legal
                                                             Quechan Vice President               QIT HR Director; Tribal Council Secretary; Quechan tribalsecretary@quechantribe.com;                                                                             advice regarding compact provision pertaining to
156   40224                                       08/23/17   <vicepresident@quechantribe.com>     Executive Secretary                                executivesecretary@quechantribe.com FW: Employee Earnings Withholdings                                        employee earnings withholding.




                                                                                                                                                                                                                                                                                                                              Ex 6
                                                                                                                                                     8
                                                                                                                                                                                                                                                                                                                             P0155
                                                                                                        Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                        Case 3:17-cv-01436-RBM-DEB   Document
                                                                 Quechan               328-9
                                                                         Tribe's Privilege        Filed 09/17/20
                                                                                           Log -- Withheld Documents PageID.23030 Page 10 of
                                                                                   March15 11, 2020
      Document
               Family ID   Attachment   Parent   Family Date From                                 Recipients                                             CC                                 Subject                               Filename                            Privilege Description
 #    Id
                                                                                                                                                                                                                                                                      Email chain rendering legal advice of Cecilia Zamora^
                                                            Quechan Executive Secretary                                                                                                                                                                               and requesting information necessary to render legal
                                                            <executivesecretary@quechantribe.co                                                                                                                                                                       advice regarding compact provision pertaining to
157   64711                                      08/23/17   m>                                  Cecilia Zamora <czamora@rosettelaw.com>                                                     RE: Employee Earnings Withholdings                                        employee earnings withholding.
                                                                                                Quechan Executive Secretary; Quechan Vice
                                                                                                President Smith; Lorraine E. White; Quechan
                                                                                                Councilman Joaquin; Councilman Brown; Marsha             Brett Stavin
                                                                                                Hill; Willie White; Tribal Council Secretary; Brett      <bstavin@rosettelaw.com>; Saba
                                                            Robert Rosette                      Stavin <bstavin@rosettelaw.com>; Saba Bazzazieh          Bazzazieh                          Quechan - Williams & Cochrane v.                                          Email rendering legal advice of Robert Rosette^
158   31381    31381       31383                 08/23/17   <rosette@rosettelaw.com>            <sbazzazieh@rosettelaw.com>                              <sbazzazieh@rosettelaw.com>        Quechan, Rosette et al                                                    regarding Williams & Cochrane civil litigation.
                                                                                                                                                                                                                                                                      Attached docket reflecting legal advice of Robert
                                                                                                                                                                                                                                  Williams Cochrane v Quechan et al   Rosette^ regarding Williams & Cochrane civil
159   31383    31381                    31381    08/23/17                                                                                                                                                                         Civil Docket.pdf                    litigation.
                                                                                                                                                         tribalsecretary@quechantribe.com;
                                                                                                                                                         executivesecretary@quechantribe.com                                                                          Email chain rendering legal advice of Cecilia Zamora^
                                                                                                  Quechan Vice President; Tribal Council Secretary;      ; 'Quechan Tribal Administrator'                                                                             and providing information for the purpose of obtaining
                                                            QIT HR Director                       Quechan Executive Secretary; Quechan Tribal            <v.smith@quechantribe.com>;                                                                                  legal advice regarding compact provision pertaining to
160   43643                                      08/23/17   <a.espino@quechantribe.com>           Administrator; Patricia Barton                         p.barton@quechantribe.com           RE: Employee Earnings Withholdings                                       employee earnings withholding.
                                                                                                                                                                                                                                                                      Email chain rendering legal advice of Cecilia Zamora^
                                                                                                                                                                                                                                                                      and requesting information necessary to render legal
                                                            Cecilia Zamora                        Quechan Executive Secretary; Tribal Council            Tribal Council Secretary                                                                                     advice regarding compact provision pertaining to
161   46333                                      08/23/17   <czamora@rosettelaw.com>              Secretary                                              <tribalsecretary@quechantribe.com> Re: Employee Earnings Withholdings                                        employee earnings withholding.
                                                                                                                                                                                                                                                                      Email rendering legal advice of Cecilia Zamora^ and
                                                                                                                                                                                                                                                                      requesting information necessary to render legal advice
                                                            Cecilia Zamora                        Quechan Executive Secretary; Tribal Council            Tribal Council Secretary                                                                                     regarding draft Council resolution authorizing CA
162   107166   107166      107171                08/24/17   <czamora@rosettelaw.com>              Secretary                                              <tribalsecretary@quechantribe.com> Authorizing Resolution                                                    gaming compact.
                                                                                                                                                                                                                                  2017.08.24 Resolution Approving
                                                                                                                                                                                                                                  Tribal-California State Compact-    Attached draft resolution rendering legal advice of
163   107171   107166                   107166   08/24/17                                                                                                                                                                         DRAFT CGZ EDITS.docx                Cecilia Zamora^ regarding Tribal-State Compact.

                                                            Quechan Executive Secretary                                                                                                                                                                               Email chain rendering legal advice of Cecilia Zamora^
                                                            <executivesecretary@quechantribe.co                                                                                                                                                                       and providing information for the purpose of obtaining
164   124641   124641      124646                08/24/17   m>                                  Cecilia Zamora <czamora@rosettelaw.com>                                                     RE: Employee Earnings Withholdings                                        legal advice regarding employee earnings withholding.
                                                                                                                                                         tribalsecretary@quechantribe.com;
                                                                                                                                                         executivesecretary@quechantribe.com
                                                                                                  Quechan Vice President; Tribal Council Secretary;      ; 'Quechan Tribal Administrator'                                                                             Email chain rendering legal advice of Cecilia Zamora^
                                                            QIT HR Director                       Quechan Executive Secretary; Quechan Tribal            <v.smith@quechantribe.com>;                                                                                  and providing information for the purpose of obtaining
165   124646   124641                   124641   08/24/17   <a.espino@quechantribe.com>           Administrator; Patricia Barton                         p.barton@quechantribe.com           RE: Employee Earnings Withholdings                                       legal advice regarding employee earnings withholding.
                                                                                                                                                                                                                                                                      Email chain rendering legal advice of Cecilia Zamora^
                                                            Quechan Executive Secretary                                                                                                                                                                               and requesting information necessary to render legal
                                                            <executivesecretary@quechantribe.co                                                                                                                                                                       advice regarding compact provision pertaining to
166   60047                                      08/24/17   m>                                  Cecilia Zamora <czamora@rosettelaw.com>                                                     RE: Employee Earnings Withholdings                                        employee earnings withholding.
                                                                                                                                                                                                                                                                      Email chain rendering legal advice of Cecilia Zamora^
                                                            Quechan Executive Secretary                                                                                                                                                                               and requesting information necessary to render legal
                                                            <executivesecretary@quechantribe.co                                                                                                                                                                       advice regarding draft Council resolution authorizing
167   65626                                      08/24/17   m>                                  Cecilia Zamora <czamora@rosettelaw.com>                                                     RE: Authorizing Resolution                                                CA gaming compact.
                                                                                                                                                                                                                                                                      Email chain rendering legal advice of Cecilia Zamora^
                                                                                                                                                                                                                                                                      and requesting information necessary to render legal
                                                            Cecilia Zamora                                                                                                                                                                                            advice regarding draft Council resolution authorizing
168   77141                                      08/24/17   <czamora@rosettelaw.com>              Quechan Executive Secretary                                                               Re: Authorizing Resolution                                                CA gaming compact.
                                                                                                                                                                                                                                                                      Email chain rendering legal advice of Cecilia Zamora^
                                                            Quechan Executive Secretary                                                                                                                                                                               and requesting information necessary to render legal
                                                            <executivesecretary@quechantribe.co                                                                                                                                                                       advice regarding draft Council resolution authorizing
169   68166                                      08/24/17   m>                                  Cecilia Zamora <czamora@rosettelaw.com>                                                     RE: Authorizing Resolution                                                CA gaming compact.
                                                                                                                                                                                                                                                                      Email chain rendering legal advice of Cecilia Zamora^
                                                                                                                                                                                                                                                                      and requesting information necessary to render legal
                                                            Cecilia Zamora                                                                                                                                                                                            advice regarding draft Council resolution authorizing
170   53390                                      08/25/17   <czamora@rosettelaw.com>              Tribal Council Secretary                                                                  Re: Authorizing Resolution                                                CA gaming compact.
                                                                                                                                                                                                                                                                      Email chain providing information for the purpose of
                                                            Tribal Council Secretary                                                                                                                                                                                  obtaining legal advice from Cecilia Zamora^ regarding
171   112213   112213      112219                08/28/17   <tribalsecretary@quechantribe.com>    Cecilia Zamora <czamora@rosettelaw.com>                                                   FW:                                                                       Tribal-State Compact.
                                                                                                                                                                                                                                                                      Attached draft agreement providing information for the
                                                                                                                                                                                                                                                                      purpose of obtaining legal advice from Cecilia Zamora^
172   112219   112213                   112213   08/28/17                                                                                                                                                                         20170828085756331.jpg               regarding Tribal-State Compact.
                                                            Cecilia Zamora                                                                                                                                                                                            Email chain rendering legal advice of Cecilia Zamora^
173   53319                                      08/28/17   <czamora@rosettelaw.com>              Tribal Council Secretary                                                                  Re:                                                                       regarding compact agreement.

                                                            Tribal Council Secretary                                                                                                                                                                                  Email chain rendering legal advice of Cecilia Zamora^
174   78844                                      08/28/17   <tribalsecretary@quechantribe.com>    Cecilia Zamora <czamora@rosettelaw.com>                                                   RE:                                                                       regarding Tribal-State Compact due diligence.

                                                                                                  Quechan Vice President Smith; Lorraine E. White;
                                                                                                  Quechan Councilman Joaquin; Councilman Brown;
                                                                                                  Marsha Hill; Willie White; Tribal Council Secretary;   Robert Rosette
                                                                                                  Quechan Executive Secretary; Quechan President;        <rosette@rosettelaw.com>; Luke
                                                            Cecilia Zamora                        Robert Rosette <rosette@rosettelaw.com>; Luke          Christian                                                                                                    Email rendering legal advice of Cecilia Zamora^
175   26151                                      08/29/17   <czamora@rosettelaw.com>              Christian <lchristian@rosettelaw.com>                  <lchristian@rosettelaw.com>        Compact Update ;Compact Update                                            regarding SB 6 status updates.
                                                                                                  Councilman Brown; Marsha Hill; Lorraine E. White;
                                                            Tribal Council Secretary              Quechan Councilman Joaquin; Willie White; Virgil                                          FW: Compact Update ;FW: Compact                                           Email chain rendering legal advice of Cecilia Zamora^
176   27150                                      08/29/17   <tribalsecretary@quechantribe.com>    S. Smith                                                                                  Update                                                                    regarding SB 6 status updates.




                                                                                                                                                                                                                                                                                                                                 Ex 6
                                                                                                                                                         9
                                                                                                                                                                                                                                                                                                                                P0156
                                                                                                          Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                           Case 3:17-cv-01436-RBM-DEB   Document
                                                                    Quechan               328-9
                                                                            Tribe's Privilege        Filed 09/17/20
                                                                                              Log -- Withheld Documents PageID.23031 Page 11 of
                                                                                      March15 11, 2020
      Document
               Family ID   Attachment      Parent   Family Date From                                Recipients                                             CC                                    Subject                                   Filename                           Privilege Description
 #    Id
                                                                                                    Councilman Brown; Marsha Hill; Lorraine E. White;
                                                               Tribal Council Secretary             Quechan Councilman Joaquin; Willie White; Virgil                                                                                                                          Email chain rendering legal advice of Cecilia Zamora^
177   52513                                         08/29/17   <tribalsecretary@quechantribe.com>   S. Smith                                                                                     FW: Compact Update                                                           regarding SB 6 status updates.

                                                                                                    Quechan Vice President Smith; Lorraine E. White;
                                                                                                    Quechan Councilman Joaquin; Councilman Brown;
                                                                                                    Marsha Hill; Willie White; Tribal Council Secretary;
                                                               Cecilia Zamora                       Quechan Executive Secretary; Quechan President;      Luke Christian                          Draft Press Release on Tribal-State                                          Email rendering legal advice of Cecilia Zamora^
178   33272    33272       33273                    08/31/17   <czamora@rosettelaw.com>             Luke Christian <lchristian@rosettelaw.com>           <lchristian@rosettelaw.com>             Compact                                                                      regarding draft press release.
                                                                                                                                                                                                                                                                              Attached draft press release rendering legal advice of
                                                                                                                                                                                                                                           2017 08 31 Quechan Compact Press   Cecilia Zamora^ and Robert Rosette^ regarding Tribal-
179   33273    33272                       33272    08/31/17                                                                                                                                                                               Release FINAL.docx                 State Gaming Compact.
                                                               Tribal Council Secretary                                                                                                          RE: Draft Press Release on Tribal-State                                      Email chain rendering legal advice of Cecilia Zamora^
180   48051                                         09/01/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                      Compact                                                                      regarding draft press release.
                                                               Tribal Council Secretary                                                                                                          RE: Draft Press Release on Tribal-State                                      Email chain requesting and rendering legal advice of
181   52807                                         09/01/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                      Compact                                                                      Cecilia Zamora^ regarding draft press release.
                                                               Cecilia Zamora                                                                                                                    Re: Draft Press Release on Tribal-State                                      Email chain requesting and rendering legal advice of
182   52248                                         09/01/17   <czamora@rosettelaw.com>             Tribal Council Secretary                                                                     Compact                                                                      Cecilia Zamora^ regarding draft press release.
                                                               Tribal Council Secretary                                                                                                          RE: Draft Press Release on Tribal-State                                      Email chain requesting and rendering legal advice of
183   55580                                         09/01/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                      Compact                                                                      Cecilia Zamora^ regarding draft press release.

                                                                                                    Quechan Vice President Smith; Lorraine E. White;
                                                                                                    Quechan Councilman Joaquin; Councilman Brown;
                                                                                                    Marsha Hill; Willie White; Tribal Council Secretary;   Robert Rosette
                                                                                                    Quechan Executive Secretary; Quechan President;        <rosette@rosettelaw.com>; Luke        Status of Press Release Announcing
                                                               Cecilia Zamora                       Robert Rosette <rosette@rosettelaw.com>; Luke          Christian                             Execution of Tribal-State Gaming                                             Email rendering legal advice of Cecilia Zamora^
184   26583                                         09/05/17   <czamora@rosettelaw.com>             Christian <lchristian@rosettelaw.com>                  <lchristian@rosettelaw.com>           Compact                                                                      regarding Tribal-State Compact press release.
                                                                                                                                                           Robert Rosette
                                                                                                                                                           <rosette@rosettelaw.com>; Tribal
                                                                                                    Quechan Vice President Smith; Lorraine E. White;       Council Secretary
                                                                                                    Quechan Councilman Joaquin; Councilman Brown;          <tribalsecretary@quechantribe.com>;
                                                                                                    Marsha Hill; Willie White; Robert Rosette              Quechan Executive Secretary           Legislative Process for Compact
                                                               Cecilia Zamora                       <rosette@rosettelaw.com>; Tribal Council               <executivesecretary@quechantribe.co   Ratification;Legislative Process for                                         Email rendering legal advice of Cecilia Zamora^
185   33103    33103       33104                    09/06/17   <czamora@rosettelaw.com>             Secretary; Quechan Executive Secretary                 m>                                    Compact Ratification                                                         regarding compact ratification process.
                                                                                                                                                                                                                                                                              Attached memorandum rendering legal advice of
                                                                                                                                                                                                                                           2017.09.06 Quechan Compact         Cecilia Zamora^ regarding compact ratification
186   33104    33103                       33103    09/06/17                                                                                                                                                                               Legislative Process - FINAL.pdf    process.
                                                                                                                                                                                                                                                                              Email chain requesting information necessary to render
                                                               Cecilia Zamora                                                                                                                                                                                                 legal advice of Cecilia Zamora^ regarding California
187   44928                                         09/06/17   <czamora@rosettelaw.com>             Tribal Council Secretary                                                                     Re: Dinner or lunch                                                          legislature hearing preparation.
                                                                                                                                                                                                                                                                              Email chain requesting information necessary to render
                                                               Tribal Council Secretary                                                                                                                                                                                       legal advice of Cecilia Zamora^ regarding California
188   54352                                         09/08/17   <tribalsecretary@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                      RE: Dinner or lunch                                                          legislature hearing preparation.
                                                                                                                                                                                                                                                                              Email chain requesting and providing information
                                                               Cecilia Zamora                                                                                                                                                                                                 necessary to render legal advice of Cecilia Zamora^
189   47857                                         09/08/17   <czamora@rosettelaw.com>             Tribal Council Secretary                                                                     Re: Dinner or lunch                                                          regarding California legislature hearing preparation.

                                                                                                    Quechan Vice President Smith; Lorraine E. White;       Tribal Council Secretary
                                                                                                    Quechan Councilman Joaquin; Councilman Brown;          <tribalsecretary@quechantribe.com>;
                                                                                                    Marsha Hill; Willie White; Tribal Council Secretary;   executivesecretary@quechantribe.com Meeting with Legislators Regarding SB
                                                               Cecilia Zamora                       Quechan Executive Secretary; Robert Rosette            ; Robert Rosette                    6;Meeting with Legislators Regarding SB                                        Email rendering legal advice of Robert Rosette^
190   28173                                         09/09/17   <czamora@rosettelaw.com>             <rosette@rosettelaw.com>                               <rosette@rosettelaw.com>            6                                                                              regarding SB6 meeting.

                                                               Cecilia Zamora                       Willie White; Marsha Hill; Tribal Council Secretary; Robert Rosette                          GO Committee Hearings Itinerary;GO                                           Email rendering legal advice of Cecilia Zamora^
191   107462   107462      107463;107464            09/12/17   <czamora@rosettelaw.com>             Robert Rosette <rosette@rosettelaw.com>              <rosette@rosettelaw.com>                Committee Hearings Itinerary                                                 regarding California legislature hearing preparation.
                                                                                                                                                                                                                                                                              Attached agenda reflecting legal advice of Cecilia
                                                                                                                                                                                                                                                                              Zamora^ regarding California legislature hearing
192   107463   107462                      107462   09/12/17                                                                                                                                                                               A G E N D A_Q.pdf                  schedule.
                                                                                                                                                                                                                                                                              Attached draft communication reflecting legal advice
                                                                                                                                                                                                                                                                              of Cecilia Zamora^ regarding California legislature
193   107464   107462                      107462   09/12/17                                                                                                                                                                               Talking Points Legislature.docx    hearing talking points.

                                                                                                    Quechan Vice President Smith; Lorraine E. White;       Tribal Council Secretary
                                                                                                    Quechan Councilman Joaquin; Councilman Brown;          <tribalsecretary@quechantribe.com>;
                                                                                                    Marsha Hill; Willie White; Tribal Council Secretary;   executivesecretary@quechantribe.com
                                                               Cecilia Zamora                       Quechan Executive Secretary; Robert Rosette            ; Robert Rosette                    SB 6 Passes Assembly ;SB 6 Passes                                              Email rendering legal advice of Cecilia Zamora^
194   26339                                         09/15/17   <czamora@rosettelaw.com>             <rosette@rosettelaw.com>                               <rosette@rosettelaw.com>            Assembly                                                                       regarding SB 6 status updates.


                                                                                                                                                           Jordan Joaquin
                                                                                                                                                           <j.joaquin@quechantribe.com>;
                                                                                                                                                           Loraine White
                                                                                                                                                           <l.white@quechantribe.com>;
                                                                                                                                                           vicepresident@quechantribe.com;
                                                                                                                                                           a.brown@quechantribe.com; Tribal
                                                                                                    Cecilia Zamora <czamora@rosettelaw.com>;               Council Secretary
                                                                                                    Loraine White; Quechan Vice President Smith;           <tribalsecretary@quechantribe.com>;
                                                                                                    Councilman Brown; Tribal Council Secretary;            executivesecretary@quechantribe.com
                                                               Quechan Councilman W.White           Quechan Executive Secretary; Marsha Hill; Robert       ; m.hill@quechantribe.com; Robert                                                                                  Email chain rendering legal advice of Cecilia Zamora^
195   43948                                         09/15/17   <w.white@quechantribe.com>           Rosette <rosette@rosettelaw.com>                       Rosette <rosette@rosettelaw.com>    Re: SB 6 Passes Assembly                                                       regarding SB 6 status updates.




                                                                                                                                                                                                                                                                                                                                        Ex 6
                                                                                                                                                           10
                                                                                                                                                                                                                                                                                                                                       P0157
                                                                                                               Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                            Case 3:17-cv-01436-RBM-DEB   Document
                                                                     Quechan               328-9
                                                                             Tribe's Privilege        Filed 09/17/20
                                                                                               Log -- Withheld Documents PageID.23032 Page 12 of
                                                                                       March15 11, 2020
       Document
                Family ID      Attachment      Parent   Family Date From                                 Recipients                                             CC                                  Subject                                    Filename                                Privilege Description
  #    Id

                                                                                                         Quechan Vice President Smith; Lorraine E. White;       Tribal Council Secretary
                                                                                                         Quechan Councilman Joaquin; Councilman Brown;          <tribalsecretary@quechantribe.com>;
                                                                                                         Marsha Hill; Willie White; Tribal Council Secretary;   executivesecretary@quechantribe.com
                                                                    Cecilia Zamora                       Quechan Executive Secretary; Robert Rosette            ; Robert Rosette                    Re: SB 6 Passes Assembly ;Re: SB 6                                                 Email chain rendering legal advice of Cecilia Zamora^
 196   26719                                            09/18/17    <czamora@rosettelaw.com>             <rosette@rosettelaw.com>                               <rosette@rosettelaw.com>            Passes Assembly                                                                    regarding SB 6 status updates.
                                                                    Saba Bazzazieh                       Quechan Executive Secretary; Quechan Tribal                                                                                                                                   Email rendering legal advice of Saba Bazzazieh^
 197   106479    106479        106482                   09/19/17    <sbazzazieh@rosettelaw.com>          Secretary                                                                                  Call with Senate Committee Staff                                                   regarding draft congressional testimony.
                                                                                                                                                                                                                                               2017 09 18 Outline for President        Attached draft outline reflecting legal advice of Saba
 198   106482    106479                        106479   09/19/17                                                                                                                                                                               Escalanti.pdf                           Bazzazieh^ regarding congressional testimony.
                                                                                                         Councilman Brown; Marsha Hill; Willie White;                                                                                                                                  Email chain requesting and rendering legal advice of
                                                                    Tribal Council Secretary             Lorraine E. White; Quechan Councilman Joaquin;                                                                                                                                Saba Bazzazieh^ regarding draft congressional
 199   115225    115225        115233                   09/20/17    <tribalsecretary@quechantribe.com>   Virgil S. Smith                                                                            FW: Call with Senate Committee Staff                                               testimony.
                                                                                                                                                                                                                                               2017 09 18 Outline for President        Attached draft outline reflecting legal advice of Saba
 200   115233    115225                        115225   09/20/17                                                                                                                                                                               Escalanti.pdf                           Bazzazieh^ regarding congressional testimony.
                                                                                                         Councilman Brown; Marsha Hill; Willie White;                                                                                                                                  Email chain requesting and rendering legal advice of
                                                                    Tribal Council Secretary             Lorraine E. White; Quechan Councilman Joaquin;                                                                                                                                Saba Bazzazieh^ regarding draft congressional
 201   34654     34654         34655                    09/20/17    <tribalsecretary@quechantribe.com>   Virgil S. Smith                                                                            FW: Call with Senate Committee Staff                                               testimony.
                                                                                                                                                                                                                                               2017 09 18 Outline for President        Attached draft outline reflecting legal advice of Saba
 202   34655     34654                         34654    09/20/17                                                                                                                                                                               Escalanti.pdf                           Bazzazieh^ regarding congressional testimony.
                                                                    Saba Bazzazieh                                                                                                                                                                                                     Email rendering legal advice of Saba Bazzazieh^
 203   165998    165998        167085                   09/28/17    <sbazzazieh@rosettelaw.com>          Willie White                                                                               Draft Congressional Testimony                                                      regarding draft congressional testimony.
                                                                                                                                                                                                                                                                                       Attached draft testimony reflecting legal advice of Saba
                                                                                                                                                                                                                                               2017 09 28 Written Testimony of         Bazzazieh^ regarding congressional hearing
 204   167085    165998                        165998   09/28/17                                                                                                                                                                               President Escalanti.doc                 concerning Indian gaming.


                                                                                                                                                                Quechan Tribal Secretary'
                                                                                                         Quechan Executive Secretary; Quechan Vice              <tribalsecretary@quechantribe.com>;
                                                                                                         President Smith; Lorraine E. White; Quechan            Quechan Executive Secretary
                                                                                                         Councilman Joaquin; Councilman Brown; Marsha           <executivesecretary@quechantribe.co
                                                                                                         Hill; Willie White; Quechan Tribal Secretary;          m>; Robert Rosette
                                                                                                         Quechan Executive Secretary; Robert Rosette            <rosette@rosettelaw.com>; Cecilia
                                                                                                         <rosette@rosettelaw.com>; Cecilia Zamora               Zamora <czamora@rosettelaw.com>;
                                                                    Saba Bazzazieh                       <czamora@rosettelaw.com>; Quechan Tribal               Quechan Tribal Secretary            RE: Senate Committee on Indian Affairs -                                           Email chain rendering legal advice of Saba Bazzazieh^
 205   31948     31948         31950                    09/28/17    <sbazzazieh@rosettelaw.com>          Secretary                                              <tribalsecretary@quechantribe.com> Invitation to Testify - October 4, 2017                                             regarding draft congressional testimony.
                                                                                                                                                                                                                                                                                       Attached draft testimony reflecting legal advice of Saba
                                                                                                                                                                                                                                               2017 09 28 Written Testimony of         Bazzazieh^ regarding congressional hearing
 206   31950     31948                         31948    09/28/17                                                                                                                                                                               President Escalanti (FINAL).doc         concerning Indian gaming.
                                                                                                         Saba Bazzazieh <sbazzazieh@rosettelaw.com>;
                                                                                                         Quechan Executive Secretary; Quechan Vice
                                                                                                         President Smith; Lorraine E. White; Quechan            Quechan Tribal Secretary'
                                                                                                         Councilman Joaquin; Councilman Brown; Marsha           <tribalsecretary@quechantribe.com>;
                                                                                                         Hill; Quechan Tribal Secretary; Robert Rosette         Robert Rosette
                                                                    Willie White                         <rosette@rosettelaw.com>; Cecilia Zamora               <rosette@rosettelaw.com>; Cecilia   Re: Senate Committee on Indian Affairs -                                           Email chain rendering legal advice of Saba Bazzazieh^
 207   33436     33436         33438                    09/29/17    <w.white@quechantribe.com>           <czamora@rosettelaw.com>                               Zamora <czamora@rosettelaw.com> Invitation to Testify - October 4, 2017                                                regarding draft congressional testimony.
                                                                                                                                                                                                                                                                                       Attached draft testimony reflecting legal advice of Saba
                                                                                                                                                                                                                                               2017 09 28 Written Testimony of         Bazzazieh^ regarding congressional hearing
 208   33438     33436                         33436    09/29/17                                                                                                                                                                               President Escalanti (v2)(redline).doc   concerning Indian gaming.
                                                                                                         Quechan Vice President Smith; Lorraine E. White;
                                                                                                         Quechan Councilman Joaquin; Councilman Brown;
                                                                                                         Marsha Hill; Willie White; Quechan Executive
                                                                    Cecilia Zamora                       Secretary; Tribal Council Secretary; Robert Rosette                                                                                                                           Email chain rendering legal advice of Cecilia Zamora^
 209   26221                                            10/03/17    <czamora@rosettelaw.com>             <rosette@rosettelaw.com>                                                                   Governor Brown Signs SB 6                                                          regarding SB 6 status updates.
                                                                                                         Quechan Vice President Smith; Lorraine E. White;
                                                                                                         Quechan Councilman Joaquin; Councilman Brown;
                                                                                                         Marsha Hill; Willie White; Quechan Executive
                                                                    Cecilia Zamora                       Secretary; Tribal Council Secretary; Robert Rosette                                        Compact Arrives at BIA ;Compact Arrives                                            Email chain rendering legal advice of Cecilia Zamora^
 210   26662                                            10/12/17    <czamora@rosettelaw.com>             <rosette@rosettelaw.com>                                                                   at BIA                                                                             regarding SB 6 status updates.
                                                                                                         Quechan Executive Secretary; Quechan Vice
                                                                                                         President Smith; Lorraine E. White; Quechan
                                                                                                         Councilman Joaquin; Councilman Brown; Marsha                                                                                                                                  Email providing information for the purpose of
                                                                    Cecilia Zamora                       Hill; Willie White; Robert Rosette                     Robert Rosette                                                                                                         obtaining legal advice from Robert Rosette^ regarding
 211   26591                                            10/23/17    <czamora@rosettelaw.com>             <rosette@rosettelaw.com>                               <rosette@rosettelaw.com>            2006 Settlement ;2006 Settlement                                                   settlement agreement.
                                                                                                         Quechan Executive Secretary; Quechan Vice
                                                                                                         President Smith; Lorraine E. White; Quechan
                                                                                                         Councilman Joaquin; Councilman Brown; Marsha                                                                                                                                  Email chain providing information for the purpose of
                                                                    Cecilia Zamora                       Hill; Willie White; Robert Rosette                     Robert Rosette                                                                                                         obtaining legal advice from Robert Rosette^ regarding
 212   27184                                            11/13/17    <czamora@rosettelaw.com>             <rosette@rosettelaw.com>                               <rosette@rosettelaw.com>            Re: 2006 Settlement ;Re: 2006 Settlement                                           settlement agreement.
                                                                                                         Quechan Vice President Smith; Lorraine E. White;
                                                                                                         Quechan Councilman Joaquin; Councilman Brown;
                                                                                                         Marsha Hill; Willie White; Quechan Executive
                                                                    Cecilia Zamora                       Secretary; Tribal Council Secretary; Robert Rosette                                                                                                                           Email chain rendering legal advice of Cecilia Zamora^
 213 26755                                              11/20/17    <czamora@rosettelaw.com>             <rosette@rosettelaw.com>                                                                   Compact Deemed Approved                                                            regarding SB 6 status updates.
Supplemental Documents Addded March 11, 2020
                                                                                                                                                                                                                                                                                       Email chain requesting and rendering legal advice of
       79013                                            6/22/2017                                         Quechan Executive Secretary                                                                                                                                                  Richard Verri^ regarding Williams & Cochrane
 214                                                                Richard Verri <rverri@rosettelaw.com> <executivesecretary@quechantribe.com>                                                     RE: William & Cochrane                     RE William & Cochrane.msg               correspondence.
                                                                                                                                                                                                                                                                                       Email chain requesting and rendering legal advice of
       78500                                            6/22/2017                                         Quechan Executive Secretary                                                                                                                                                  Richard Verri^ regarding Williams & Cochrane
 215                                                                Richard Verri <rverri@rosettelaw.com> <executivesecretary@quechantribe.com>                                                     RE: William & Cochrane                     RE William & Cochrane.msg               correspondence.



                                                                                                                                                                                                                                                                                                                                                   Ex 6
                                                                                                                                                                11
                                                                                                                                                                                                                                                                                                                                                  P0158
                                                                                                                     Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                           Case 3:17-cv-01436-RBM-DEB   Document
                                                                    Quechan               328-9
                                                                            Tribe's Privilege        Filed 09/17/20
                                                                                              Log -- Withheld Documents PageID.23033 Page 13 of
                                                                                      March15 11, 2020
      Document
               Family ID      Attachment   Parent      Family Date From                                      Recipients                                         CC                                   Subject                                  Filename                              Privilege Description
 #    Id
                                                                   Quechan Executive Secretary                                                                                                                                                                                      Email chain requesting and rendering legal advice of
      68621                                            6/22/2017   <executivesecretary@quechantribe.co                                                                                                                                                                              Richard Verri^ regarding Williams & Cochrane
216                                                                m>                                  Richard Verri' <rverri@rosettelaw.com>                                                        RE: William & Cochrane                   RE William & Cochrane.msg             correspondence.
                                                                                                         Quechan Executive Secretary                                                                                                                                                Email chain requesting and rendering legal advice of
      79214                                            6/22/2017                                         <executivesecretary@quechantribe.com>;president                                                                                                                            Richard Verri^ regarding Williams & Cochrane
217                                                                Richard Verri <rverri@rosettelaw.com> @quechantribe.com                                      president@quechantribe.com           RE: William & Cochrane                   RE William & Cochrane.msg             correspondence.
                                                                   Quechan Executive Secretary
                                                                   <executivesecretary@quechantribe.co
                                                                                                                                                                                                                                                                                    Email requesting legal advice of Robert Rosette^
      69236                                            6/23/2017
218                                                                m>                                    rosette@rosettelaw.com                                                                      Contract                                 Contract.msg                          regarding contract.
                                                                   Quechan Executive Secretary
                                                                   <executivesecretary@quechantribe.co
                                                                                                                                                                                                                                                                                    Email chain requesting and rendering legal advice of
      72411                                            6/26/2017
219                                                                m>                                    Thane D. Somerville' <t.somerville@msaj.com>                                                RE: Rosette contract                     RE Rosette contract.msg               Thane Somerville^ regarding Rosette contract.
                                                                                                                                                                Alexis Summerfield
                                                                                                                                                                (tribalsecretary@quechantribe.com)
                                                                                                             Quechan Executive Secretary                        <tribalsecretary@quechantribe.com>;
                                                                                                             <executivesecretary@quechantribe.com>;Alexis       Regina Escalanti                                                                                                    Email chain requesting and rendering legal advice of
      60940                                            6/26/2017                                             Summerfield (tribalsecretary@quechantribe.com)     (assttribalsecretary@quechantribe.co                                                                                Thane Somerville^ regarding Rosette contract.
                                                                                                             <tribalsecretary@quechantribe.com>;Regina          m)
                                                                   Thane D. Somerville                       Escalanti (assttribalsecretary@quechantribe.com)   <assttribalsecretary@quechantribe.co
220                                                                <t.somerville@msaj.com>                   <assttribalsecretary@quechantribe.com>             m>                                   RE: Rosette contract                     RE Rosette contract.msg
                                                                   Thane D. Somerville                       Quechan Executive Secretary                                                                                                                                            Email chain requesting and rendering legal advice of
      75634                                            6/26/2017
221                                                                <t.somerville@msaj.com>                   <executivesecretary@quechantribe.com>                                                   RE: Rosette contract                     RE Rosette contract.msg               Thane Somerville^ regarding Rosette contract.

                                                                                                             Willie White <w.white@quechantribe.com>;Quechan    Quechan Executive Secretary
                                                                                                             Executive Secretary                                <executivesecretary@quechantribe.co
                                                                                                                                                                                                                                                                                    Email rendering legal advice from Robert Rosette^
      84577                                            6/29/2017
                                                                   Robert Rosette                            <executivesecretary@quechantribe.com>;Cecilia      m>;Cecilia Zamora                                                           RE W&C Email June 15th 2017             regarding Williams & Cochrane correspondence.
222                                                                <rosette@rosettelaw.com>                  Zamora <czamora@rosettelaw.com>                    <czamora@rosettelaw.com>            RE: W&C Email June 15th 2017 (attached) (attached).msg
                                                                                                                                                                                                                                                                                    Email rendering legal advice from Robert Rosette^
      163641                                           6/30/2017
223                                                                Robert Rosette <rosette@rosettelaw.com>   Quechan Executive Secretary                                                             Letter to Cochrane & Williams                                                  regarding Williams & Cochrane correspondence.
                                                                                                                                                                                                                                                                                    Email chain requesting and rendering legal advice of
      53025                                            7/20/2017   Tribal Council Secretary                  Christian Cienfuegos'                                                                                                                                                  Christian Cienfuegos^ regarding assigned matter
224                                                                <tribalsecretary@quechantribe.com>        <ccienfuegos@rosettelaw.com>                                                            RE: summary                              RE summary.msg                        updates.
                                                                                                                                                                                                                                                                                    Email chain providing information for the purpose of
      54106                                            8/16/2017   Tribal Council Secretary                  Esteban Gomez (e.gomez@quechantribe.com)                                                                                                                               obtaining legal advice from Cecilia Zamora^ regarding
225                                                                <tribalsecretary@quechantribe.com>        <e.gomez@quechantribe.com>                                                              FW: Emails                               FW Emails .msg                        Tribal Resolutions.
                                                                                                                                                                                                     Emailing - R-94-06 Special 062606        Emailing - R-94-06 Special 062606     Email providing information for the purpose of
      130879                                           8/16/2017   Tribal Council Secretary                  c.zamora@rosettelaw.com'                                                                Imperial County Office Reservation       Imperial County Office Reservation    obtaining legal advice from Cecilia Zamora^ regarding
226                  130879 130886                                 <tribalsecretary@quechantribe.com>        <c.zamora@rosettelaw.com>                                                               Mediation Agreement.pdf                  Mediation Agreement.pdf.msg           mediation agreement.
                                                                                                                                                                                                                                              R-94-06 Special 062606 Imperial       Attached mediation agreement providing information
      130886                                           8/16/2017                                                                                                                                                                              County Office Reservation Mediation   for the purpose of obtaining legal advice from Cecilia
227                  130879                   130879                                                                                                                                                                                          Agreement.pdf                         Zamora^ regarding reservation development.
                                                                                                                                                                                                                                              FW Emailing - R-94-06 Special
                                                                                                                                                                                                                                                                                    Email chain providing information for the purpose of
                                                                                                                                                                                                     FW: Emailing - R-94-06 Special 062606    062606 Imperial County Office
      104682                                           8/16/2017   Tribal Council Secretary                  c.zamora@rosettelaw.com;lchristian@rosettelaw.co                                        Imperial County Office Reservation       Reservation Mediation                 obtaining legal advice from Cecilia Zamora^ and Luke
228                  104682 104687                                 <tribalsecretary@quechantribe.com>        m                                                  lchristian@rosettelaw.com            Mediation Agreement.pdf                  Agreement.pdf.msg                     Christian^ regarding mediation agreement.
                                                                                                                                                                                                                                                                                 Attached mediation agreement providing information
                                                                                                                                                                                                                                              R-94-06 Special 062606 Imperial    for the purpose of obtaining legal advice from Cecilia
      104687                                           8/16/2017
                                                                                                                                                                                                                                              County Office Reservation MediationZamora^ and Luke Christian^ regarding reservation
229                  104682                   104682                                                                                                                                                                                          Agreement.pdf                      development.
                                                                                                                                                                                                                                                                                 Email chain providing information for the purpose of
      51759                                            8/16/2017   Tribal Council Secretary                  Megan Montague (MeganM@playqcr.com)                                                                                                                                 obtaining legal advice from Cecilia Zamora^ regarding
230                                                                <tribalsecretary@quechantribe.com>        <MeganM@playqcr.com>                                                                    update                                  update.msg                          Tribal ordinances.
                                                                                                                                                                                                                                                                                 Email chain providing information for the purpose of
      46643                                            8/16/2017   Megan Montague                            Tribal Council Secretary                                                                                                                                            obtaining legal advice from Cecilia Zamora^ regarding
231                                                                <MeganM@playqcr.com>                      <tribalsecretary@quechantribe.com>                                                      RE: update                              RE update.msg                       Tribal ordinances.
                                                                                                                                                                                                                                                                                 Email chain providing information for the purpose of
      52496                                            8/16/2017   Cecilia Zamora                            tribalsecretary@quechantribe.com;Luke Christian  Luke Christian                                                                                                     obtaining legal advice from Cecilia Zamora^ regarding
232                                                                <czamora@rosettelaw.com>                  <lchristian@rosettelaw.com>                      <lchristian@rosettelaw.com>            Emails                                  Emails .msg                         Tribal Resolutions.
                                                                                                                                                                                                                                                                                 Email chain providing information for the purpose of
      73161                                            8/16/2017   Tribal Council Secretary                                                                                                                                                                                      obtaining legal advice from Cecilia Zamora^ regarding
233                                                                <tribalsecretary@quechantribe.com>        Megan Montague' <MeganM@playqcr.com>                                                    RE: update                              RE update.msg                       Tribal ordinances.
                                                                                                                                                                                                                                                                                 Email chain providing information for the purpose of
      52498                                            8/16/2017   Megan Montague                            Tribal Council Secretary                                                                                                                                            obtaining legal advice from Cecilia Zamora^ regarding
234                                                                <MeganM@playqcr.com>                      <tribalsecretary@quechantribe.com>                                                      RE: update                              RE update.msg                       Tribal ordinances.
                                                                                                                                                                                                                                                                                 Email chain providing information for the purpose of
      75679                                            8/16/2017   Tribal Council Secretary                                                                                                                                                                                      obtaining legal advice from Cecilia Zamora^ regarding
235                                                                <tribalsecretary@quechantribe.com>        Megan Montague' <MeganM@playqcr.com>                                                    RE: update                              RE update.msg                       Tribal ordinances.
                                                                                                                                                                                                                                                                                 Email requesting information necessary to render legal
      286582                                           8/16/2017   William White                                                                                                                                                                                                 advice of Cecilia Zamora^ regarding compact
236                  286582 287671                                 <williemwhite@gmail.com>                  psimons@playqcr.com                                                                     Rosette Lawyer                          Rosette Lawyer.msg                  negotiations.
                                                                                                                                                                                                                                                                                 Attachment to email requesting information necessary
      287671                                           8/16/2017                                                                                                                                                                                                                 to render legal advice of Cecilia Zamora^ regarding
237                  286582                   286582                                                                                                                                                                                         ATT00002.txt                        compact negotiations.
                                                                                                                                                                                                                                                                                 Email chain providing information for the purpose of
      52980                                            8/16/2017   Megan Montague                            Tribal Council Secretary                                                                                                                                            obtaining legal advice from Cecilia Zamora^ regarding
238                                                                <MeganM@playqcr.com>                      <tribalsecretary@quechantribe.com>                                                      FW: update                              FW update.msg                       Tribal ordinances.
                                                                                                                                                                                                                                                                                 Email chain providing information for the purpose of
      162850                                           8/17/2017   Tribal Council Secretary                  czamora@rosettelaw.com;lchristian@rosettelaw.com lchristian@rosettelaw.com;tribalsecret Tribal State Compact Between CA and QIT Tribal State Compact Between CA and obtaining legal advice from Cecilia Zamora^ and Luke
239                  162850 162854                                 <tribalsecretary@quechantribe.com>        ;tribalsecretary@quechantribe.com                ary@quechantribe.com                   (b)                                     QIT (b).msg                         Christian^ regarding Tribal-State Compact.
                                                                                                                                                                                                                                                                                    Attached draft agreement providing information for the
      162854                                           8/17/2017                                                                                                                                                                                                                    purpose of obtaining legal advice from Cecilia Zamora^
                                                                                                                                                                                                                                              Tribal State Compact Between CA and
                                                                                                                                                                                                                                                                                  and Luke Christian^ regarding Tribal-State Compact.
240                  162850                   162850                                                                                                                                                                                          QIT (b).pdf




                                                                                                                                                                                                                                                                                                                                              Ex 6
                                                                                                                                                                12
                                                                                                                                                                                                                                                                                                                                             P0159
                                                                                                             Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                           Case 3:17-cv-01436-RBM-DEB   Document
                                                                    Quechan               328-9
                                                                            Tribe's Privilege        Filed 09/17/20
                                                                                              Log -- Withheld Documents PageID.23034 Page 14 of
                                                                                      March15 11, 2020
      Document
               Family ID      Attachment   Parent      Family Date From                                 Recipients                                          CC                                   Subject                                   Filename                                    Privilege Description
 #    Id
                                                                                                                                                                                                                                                                             Email requesting legal advice of Cecilia Zamora^
      108534                                           8/18/2017   Tribal Council Secretary             czamora@rosettelaw.com'                                                              Resolution Approving Tribal-California   Resolution Approving Tribal-California regarding draft Council resolution authorizing CA
241                  108534 108539                                 <tribalsecretary@quechantribe.com>   <czamora@rosettelaw.com>                                                             State Compact-DRAFT FINAL                State Compact-DRAFT FINAL.msg          gaming compact.
                                                                                                                                                                                                                                                                             Attached draft resolution requesting legal advice of
      108539                                           8/18/2017                                                                                                                                                                      Resolution Approving Tribal-California Cecilia Zamora^ regarding draft Council resolution
242                  108534                   108534                                                                                                                                                                                  State Compact-DRAFT FINAL.docx         authorizing CA gaming compact.
                                                                                                                                                                                                                                                                             Email chain providing information for the purpose of
      49169                                            8/21/2017   Cecilia Zamora                       Quechan Tribal Secretary                                                                                                                                             obtaining legal advice from Cecilia Zamora^ regarding
243                                                                <czamora@rosettelaw.com>             <tribalsecretary@quechantribe.com>                                                   Re: update                               Re update.msg                          Tribal ordinances.
                                                                                                        a.brown@quechantribe.com;j.joaquin@quechantribe.                                                                                                                     Email chain rendering legal advice of Cecilia Zamora^
      26272                                            8/22/2017                                        com;l.white@quechantribe.com;w.white@quechantri                                                                               FW Employee Earnings Withholdings and requesting information necessary to render legal
                                                                   Tribal Council Secretary             be.com;vs.smith@quechantribe.com;m.hill@quecha                                       FW: Employee Earnings Withholdings;FW: .msg;FW Employee Earnings                advice regarding compact provision pertaining to
244                                                                <tribalsecretary@quechantribe.com>   ntribe.com                                                                           Employee Earnings Withholdings           Withholdings.msg                       employee earnings withholding.
                                                                                                        Quechan Tribal Secretary                                                                                                                                             Email chain rendering legal advice of Cecilia Zamora^
                                                                                                        <tribalsecretary@quechantribe.com>;Quechan                                                                                                                           and requesting information necessary to render legal
      45273                                            8/22/2017
                                                                   Cecilia Zamora                       Executive Secretary                                                                                                                                                  advice regarding compact provision pertaining to
245                                                                <czamora@rosettelaw.com>             <executivesecretary@quechantribe.com>                                                Employee Earnings Withholdings           Employee Earnings Withholdings .msg employee earnings withholding.
                                                                                                                                                                                                                                                                             Email chain rendering legal advice of Cecilia Zamora^
                                                                                                                                                                                                                                                                             and requesting information necessary to render legal
      50241                                            8/22/2017
                                                                   Tribal Council Secretary                                                                                                                                           RE Employee Earnings Withholdings advice regarding compact provision pertaining to
246                                                                <tribalsecretary@quechantribe.com>   Cecilia Zamora' <czamora@rosettelaw.com>                                             RE: Employee Earnings Withholdings       .msg                                   employee earnings withholding.
                                                                                                                                                                                                                                                                             Email chain rendering legal advice of Cecilia Zamora^
                                                                                                                                                                                                                                                                             and requesting information necessary to render legal
      52961                                            8/22/2017
                                                                   Quechan Councilman Joaquin                                                                                                                                         Re FW Employee Earnings                advice regarding compact provision pertaining to
247                                                                <j.joaquin@quechantribe.com>         tribalsecretary@quechantribe.com                                                     Re: FW: Employee Earnings Withholdings Withholdings.msg                         employee earnings withholding.
                                                                                                        tribalsecretary@quechantribe.com;vs.smith@quecha vs.smith@quechantribe.com;l.white@                                                                                  Email chain rendering legal advice of Cecilia Zamora^
                                                                                                        ntribe.com;l.white@quechantribe.com;m.hill@quech quechantribe.com;m.hill@quechantrib                                                                                 and requesting information necessary to render legal
      26482                                            8/22/2017
                                                                   Quechan Councilman Brown             antribe.com;j.joaquin@quechantribe.com;w.white@q e.com;j.joaquin@quechantribe.com;w.                                          Re FW Employee Earnings                advice regarding compact provision pertaining to
248                                                                <a.brown@quechantribe.com>           uechantribe.com                                  white@quechantribe.com              Re: FW: Employee Earnings Withholdings Withholdings.msg                         employee earnings withholding.
                                                                                                        a.brown@quechantribe.com;j.joaquin@quechantribe.                                                                                                                     Email chain rendering legal advice of Cecilia Zamora^
                                                                                                        com;l.white@quechantribe.com;w.white@quechantri                                                                                                                      and requesting information necessary to render legal
      55257                                            8/22/2017
                                                                   Tribal Council Secretary             be.com;vs.smith@quechantribe.com;m.hill@quecha                                                                                FW Employee Earnings Withholdings advice regarding compact provision pertaining to
249                                                                <tribalsecretary@quechantribe.com>   ntribe.com                                                                           FW: Employee Earnings Withholdings       .msg                                   employee earnings withholding.
                                                                                                                                                                                                                                                                             Email chain rendering legal advice of Cecilia Zamora^
                                                                                                                                                                                                                                                                             and requesting information necessary to render legal
      75027                                            8/23/2017
                                                                   Cecilia Zamora                       Quechan Executive Secretary                                                                                                   Re Employee Earnings Withholdings advice regarding compact provision pertaining to
250                                                                <czamora@rosettelaw.com>             <executivesecretary@quechantribe.com>                                                Re: Employee Earnings Withholdings       .msg                                   employee earnings withholding.
                                                                                                                                                                                                                                                                             Email chain requesting and rendering legal advice of
      164499                                           9/20/2017   Tribal Council Secretary             Quechan Councilman W.White                                                                                                    RE FW Call with Senate Committee       Saba Bazzazieh^ regarding draft congressional
251                                                                <tribalsecretary@quechantribe.com>   <w.white@quechantribe.com>                                                           RE: FW: Call with Senate Committee Staff Staff.msg                              testimony.
                                                                                                                                                                                                                                                                             Email chain requesting and rendering legal advice of
      52480                                            9/20/2017   Tribal Council Secretary             Quechan Councilman Joaquin'                                                                                                   RE FW Call with Senate Committee       Saba Bazzazieh^ regarding draft congressional
252                                                                <tribalsecretary@quechantribe.com>   <j.joaquin@quechantribe.com>                                                         RE: FW: Call with Senate Committee Staff Staff.msg                              testimony.
                                                                                                                                                                                                                                                                             Email chain requesting and rendering legal advice of
      26573                                            9/20/2017   Tribal Council Secretary             Quechan Councilman Joaquin'                                                                                                   RE FW Call with Senate Committee       Saba Bazzazieh^ regarding draft congressional
253                                                                <tribalsecretary@quechantribe.com>   <j.joaquin@quechantribe.com>                                                         RE: FW: Call with Senate Committee Staff Staff.msg                              testimony.
                                                                                                        Tribal Council Secretary                            Marsha Hill
                                                                                                        <tribalsecretary@quechantribe.com>;Marsha Hill      <m.hill@quechantribe.com>;vs.smith                                                                                         Email chain requesting and rendering legal advice of
      27667                                            9/20/2017                                        <m.hill@quechantribe.com>;vs.smith@quechantribe.    @quechantribe.com;j.joaquin@quech                                                                                          Saba Bazzazieh^ regarding draft congressional
                                                                   Quechan Councilman W.White           com;j.joaquin@quechantribe.com;l.white@quechantr    antribe.com;l.white@quechantribe.co                                          Re FW Call with Senate Committee              testimony.
254                                                                <w.white@quechantribe.com>           ibe.com;a.brown@quechantribe.com                    m;a.brown@quechantribe.com          Re: FW: Call with Senate Committee Staff Staff.msg
                                                                                                                                                                                                                                                                               Email chain requesting and rendering legal advice of
      56403                                            9/20/2017   Tribal Council Secretary             Quechan Councilman W.White'                                                                                                       RE FW Call with Senate Committee     Saba Bazzazieh^ regarding draft congressional
255                                                                <tribalsecretary@quechantribe.com>   <w.white@quechantribe.com>                                                               RE: FW: Call with Senate Committee Staff Staff.msg                            testimony.
                                                                                                                                                                                                                                                                               Email chain requesting and rendering legal advice of
      49467                                            9/20/2017   Tribal Council Secretary                                                                                                                                               RE Call with Senate Committee        Saba Bazzazieh^ regarding draft congressional
256                                                                <tribalsecretary@quechantribe.com>   Saba Bazzazieh' <sbazzazieh@rosettelaw.com>                                              RE: Call with Senate Committee Staff     Staff.msg                            testimony.
                                                                                                                                                                                                                                                                               Email chain requesting and rendering legal advice of
      52502                                            9/20/2017   Quechan Councilman Joaquin                                                                                                                                             Re FW Call with Senate Committee     Saba Bazzazieh^ regarding draft congressional
257                                                                <j.joaquin@quechantribe.com>         tribalsecretary@quechantribe.com                                                         Re: FW: Call with Senate Committee Staff Staff.msg                            testimony.
                                                                   Willie White                                                                                                                                                           Re Draft Congressional               Email rendering legal advice of Saba Bazzazieh^
      167430                                           9/28/2017
258                  167430 168313                                 <w.white@quechantribe.com>           Saba Bazzazieh <sbazzazieh@rosettelaw.com>                                               Re: Draft Congressional Testimony        Testimony.msg                        regarding draft congressional testimony.
                                                                                                                                                                                                                                                                               Attached draft testimony reflecting legal advice of Saba
      168313                                           9/28/2017                                                                                                                                                                          2017 09 28 Written Testimony of      Bazzazieh^ regarding congressional hearing
259                  167430                   167430                                                                                                                                                                                      President Escalanti (Editied WW).doc concerning Indian gaming.
                                                                   Saba Bazzazieh                                                                                                                                                         RE Draft Congressional               Email rendering legal advice of Saba Bazzazieh^
      166116                                           9/28/2017
260                                                                <sbazzazieh@rosettelaw.com>          Willie White <w.white@quechantribe.com>                                                  RE: Draft Congressional Testimony        Testimony.msg                        regarding draft congressional testimony.
                                                                                                        executivesecretary@quechantribe.com;vicepresident
                                                                                                        @quechantribe.com;l.white@quechantribe.com;j.joa    Quechan Tribal Secretary'
                                                                                                        quin@quechantribe.com;a.brown@quechantribe.com      <tribalsecretary@quechantribe.com>;
                                                                                                        ;m.hill@quechantribe.com;w.white@quechantribe.co    Quechan Executive Secretary
                                                                                                        m;'Quechan Tribal Secretary'                        <executivesecretary@quechantribe.co
                                                                                                        <tribalsecretary@quechantribe.com>;Quechan          m>;Robert Rosette
                                                                                                                                                                                                                                                                                       Email chain rendering legal advice of Saba Bazzazieh^
      33073                                            9/29/2017
                                                                                                        Executive Secretary                                 <rosette@rosettelaw.com>;Cecilia                                                                                           regarding draft congressional testimony.
                                                                                                        <executivesecretary@quechantribe.com>;Robert        Zamora
                                                                                                        Rosette <rosette@rosettelaw.com>;Cecilia Zamora     <czamora@rosettelaw.com>;Quechan                                               RE Senate Committee on Indian
                            33075;                                 Saba Bazzazieh                       <czamora@rosettelaw.com>;Quechan Tribal             Tribal Secretary                    RE: Senate Committee on Indian Affairs -   Affairs - Invitation to Testify - October
261                   33073 33076                                  <sbazzazieh@rosettelaw.com>          Secretary <tribalsecretary@quechantribe.com>        <tribalsecretary@quechantribe.com> Invitation to Testify - October 4, 2017     4, 2017.msg
                                                                                                                                                                                                                                                                                       Attached draft testimony reflecting legal advice of Saba
      33075                                            9/29/2017                                                                                                                                                                           2017 09 29 President Escalanti Verbal Bazzazieh^ regarding congressional hearing
262                   33073                    33073                                                                                                                                                                                       Testimony (FINAL).doc                 concerning Indian gaming.




                                                                                                                                                                                                                                                                                                                                                   Ex 6
                                                                                                                                                            13
                                                                                                                                                                                                                                                                                                                                                  P0160
                                                                                                     Williams & Cochrane LLP v. Rosette et al., 17-cv-01436
                                           Case 3:17-cv-01436-RBM-DEB   Document
                                                                    Quechan               328-9
                                                                            Tribe's Privilege        Filed 09/17/20
                                                                                              Log -- Withheld Documents PageID.23035 Page 15 of
                                                                                      March15 11, 2020
      Document
               Family ID      Attachment   Parent      Family Date From                         Recipients                                          CC                                   Subject                                   Filename                                    Privilege Description
 #    Id
                                                                                                                                                                                                                                                                               Attached draft testimony reflecting legal advice of Saba
      33076                                            9/29/2017                                                                                                                                                                   2017 09 28 Written Testimony of             Bazzazieh^ regarding congressional hearing
263                   33073                    33073                                                                                                                                                                               President Escalanti (v2)(redline).doc       concerning Indian gaming.
                                                                                                Saba Bazzazieh
                                                                                                <sbazzazieh@rosettelaw.com>;executivesecretary@
                                                                                                quechantribe.com;vicepresident@quechantribe.com;l
                                                                                                .white@quechantribe.com;j.joaquin@quechantribe.c
                                                                                                om;a.brown@quechantribe.com;m.hill@quechantribe     Quechan Tribal Secretary'
                                                                                                                                                                                                                                                                               Email chain rendering legal advice of Saba Bazzazieh^
      31142                                            9/30/2017
                                                                                                .com;'Quechan Tribal Secretary'                     <tribalsecretary@quechantribe.com>;                                                                                        regarding draft congressional testimony.
                                                                                                <tribalsecretary@quechantribe.com>;Robert Rosette   Robert Rosette                                                                 Re Senate Committee on Indian
                                                                   Willie White                 <rosette@rosettelaw.com>;Cecilia Zamora             <rosette@rosettelaw.com>;Cecilia    Re: Senate Committee on Indian Affairs -   Affairs - Invitation to Testify - October
264                   31142 31143                                  <w.white@quechantribe.com>   <czamora@rosettelaw.com>                            Zamora <czamora@rosettelaw.com> Invitation to Testify - October 4, 2017        4, 2017.msg
                                                                                                                                                                                                                                                                               Attached draft testimony reflecting legal advice of Saba
      31143                                            9/30/2017                                                                                                                                                                   2017 09 28 Written Testimony of             Bazzazieh^ regarding congressional hearing
265                   31142                    31142                                                                                                                                                                               President Escalanti (v2)(redline).doc       concerning Indian gaming.
                                                                                                                                                                                                                                                                               Audio recording describing legal advice regarding
      292673                                           1/2/2018
266                                                                                                                                                                                                                                                                            pending W&C litigation against the Tribe.




                                                                                                                                                                                                                                                                                                                                           Ex 6
                                                                                                                                                    14
                                                                                                                                                                                                                                                                                                                                          P0161
